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 8
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11   Proposed Counsel for the Official Committee
12   of Unsecured Creditors
                      UNITED STATES BANKRUPTCY COURT
13
                     NORTHERN DISTRICT OF CALIFORNIA
14                         SAN FRANCISCO DIVISION
     In re:                             Bankruptcy Case
15                                      No. 19-30088 (DM)
     PG&E CORPORATION,                  Chapter 11
16
17              -and-                                      (Lead Case)
                                                           (Jointly Administered)
18   PACIFIC GAS AND ELECTRIC
     COMPANY,                                              APPLICATION OF THE OFFICIAL
19                                                         COMMITTEE OF UNSECURED
                                Debtors.                   CREDITORS FOR ENTRY OF AN
20                                                         ORDER PURSUANT TO 11 U.S.C.
21                                                         §§328(A) AND 1103 AND FED. R.
     □ Affects PG&E Corporation                            BANKR. P. 2014(A) FOR
22   □ Affects Pacific Gas and Electric Company            AUTHORIZATION TO RETAIN
                                                           AND EMPLOY FTI CONSULTING,
23   ■ Affects both Debtors
                                                           INC. AS FINANCIAL ADVISOR
                                                           NUNC PRO TUNC TO FEBRUARY
24   *All papers shall be filed in the lead case,
                                                           12, 2019
     No. 19-30088(DM)
25                                                         Dated: April 24, 2019
26                                                         Time: 9:30AM Pacific Time
                                                           Place: United State Bankruptcy Court,
27                                                         Courtroom 17, 16th Floor
                                                           San Francisco, CA 94102
28

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             The Official Committee of Unsecured Creditors (the “Committee”) appointed pursuant to
 1
 2   section 1102 of title 11 of the United States Code §§ 101 et seq. (the “Bankruptcy Code”) in these

 3   chapter 11 cases (the “Chapter 11 Cases”) of the above captioned debtors and debtors-in-

 4   possession (collectively, the “Debtors”) hereby submit this application (the “Application”),
 5
     pursuant to sections 328(a) and 1103 the Bankruptcy Code, and Rule 2014 of the Federal Rules of
 6
     Bankruptcy Procedure (the “Bankruptcy Rules”) for entry an order (the “Proposed Order”),
 7
     substantially in the form attached to this Application as Exhibit A, authorizing the retention and
 8
     employment of FTI Consulting, Inc. (together with its wholly owned subsidiaries, contractors and
 9
10   employees, “FTI”) as financial advisor to the Committee nunc pro tunc to the Formation Date

11   (defined below). In support of this Application, the Committee submits the Declaration of Samuel

12   E. Star in Support of Application of the Official Committee of Unsecured Creditors for Entry of an
13
     Order Pursuant to 11 U.S.C. §§ 328(a) and 1103 and Fed. R. Bankr. P. 2014(a) for Authorization
14
     to Retain and Employ FTI Consulting, Inc. as Financial Advisors Nunc Pro Tunc February 12,
15
     2019 (the “Star Declaration”), attached to this Application as Exhibit B, and respectfully state
16
17   as follows:

18                                       JURISDICTION AND VENUE

19           1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

20   1334.
21
             2.      This is a core proceeding pursuant to 28 U.S.C. § 157(b). The Committee consents
22
     to the entry of a final judgment or order with respect to this Application if it is determined that the
23
     Court, absent consent of the parties, cannot enter final orders or judgments consistent with Article
24
     III of the United States Constitution.
25
26           3.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

27
28

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                                               BACKGROUND
 1
            A.      GENERAL BACKGROUND
 2
 3          4.      On January 29, 2019 (the “Petition Date”), each of the Debtors filed a voluntary

 4   petition for relief under chapter 11 of the Bankruptcy Code, thereby commencing these chapter 11

 5   cases (the “Chapter 11 Cases”). The Debtors continue to operate their businesses as debtors in
 6   possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.
 7
            5.      On February 12, 2019 (the “Formation Date”), the Office of the United States
 8
     Trustee for the Northern District of California (the “U.S. Trustee”) appointed nine members to
 9
     the Committee pursuant to section 1102(a)(1) of the Bankruptcy Code. On the Formation Date,
10
11   the Committee selected FTI Consulting, Inc. as its financial advisor.

12          B.      SCOPE OF SERVICES
13          6.      FTI has been providing and will continue to perform the following services, with
14   the goal of assisting the Committee to maximize value for all constituents. Among other things,
15
     FTI has provided, or will provide on a prospective basis upon the court’s approval of this
16
     Application, services in the following categories (the “Services”):
17
            (a)     Assistance in the review of financial related disclosures required by the Court,
18                  including the Schedules of Assets and Liabilities, the Statement of Financial Affairs
19                  and Monthly Operating Reports;

20          (b)     Assistance with the assessment and monitoring of the Debtors’ short-term cash
                    flow, liquidity, and operating results;
21
            (c)     Assistance with the review of the Debtors’ proposed motions or requests for relief,
22                  including the Debtors’ proposed operational integrity supplier, cash management,
                    customer program, key employee incentive/retention and other employee benefit
23
                    programs motions;
24
            (d)     Assistance with the review of the Debtors’ long-term financial projections,
25                  including cash generating capacity and identification of potential cost savings,
                    including overhead and operating expense reductions and efficiency improvements;
26
            (e)     Assistance with the review of the Debtors’ cost/benefit analysis with respect to the
27                  affirmation or rejection of various executory contracts and leases;
28

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            (f)     Assistance with the review of the Debtors’ corporate structure including analysis
 1                  of intercompany activities and claims;
 2
            (g)     Assistance with the review of any tax issues associated with, but not limited to,
 3                  claims/stock trading, preservation of net operating losses, refunds due to the
                    Debtors, plans of reorganization, and asset sales;
 4
            (h)     Assistance in the review of the claims reconciliation and estimation process,
 5                  including potential exposure from wildfire damage claims;
 6          (i)     Assistance in the development of communications strategies with various
 7                  stakeholders including regulatory agencies and state government officials and
                    commissions;
 8
            (j)     Attendance at meetings and assistance in discussions with the Debtors, potential
 9                  investors, banks, other secured lenders, the Committee, and other official or
                    unofficial committees organized in these Chapter 11 Cases, the U.S. Trustee, other
10                  parties in interest and professionals hired by the same, as requested;
11          (k)     Assistance in the review and/or preparation of information and analysis necessary
12                  for the confirmation of a plan and related disclosure statement in these chapter 11
                    proceedings;
13
            (l)     Assistance in the evaluation and analysis of avoidance actions, including fraudulent
14                  conveyances and preferential transfers;
15          (m)     Assistance in the prosecution of Committee responses/objections to the Debtors’
                    motions, including attendance at deposition and provision of expert
16                  reports/testimony on case issues as required by the Committee; and
17
            (n)     Render such other general business consulting or such other assistance as the
18                  Committee or its counsel may deem necessary that are consistent with the role of a
                    financial advisor and not duplicative of services provided by other professionals in
19                  this proceeding.
20          7.      In addition, the Committee will retain the services of other professionals over the
21
     course of these Chapter 11 Cases. Already, the Committee has retained Centerview Partners LLC
22
     (“Centerview”) as investment banker and Milbank LLP (“Milbank”) as counsel. The services
23
     provided by Centerview will focus on financing alternatives, including economics of post-petition
24
     and exit financing, enterprise valuation, asset sales assessments, strategic alternative and post-
25
26   emergence capital structure issues. Milbank will provide legal counsel as the attorneys to the

27   Committee.
28

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             8.      The Committee and FTI intend that all of the services that FTI will provide to the
 1
 2   Committee will be appropriately directed by the Committee so as to avoid duplication of efforts

 3   among the other professionals retained in these Chapter 11 Cases and performed in accordance

 4   with applicable standards of the profession. FTI will work closely with the Committee’s other
 5
     retained professionals to prevent any duplication of efforts in the course of advising the
 6
     Committee.
 7
             C.     FTI’S QUALIFICATIONS
 8
             9.      The Committee has decided to retain the services of FTI based upon, among other
 9
10   things, the Committee’s need to: (i) monitor and evaluate the Debtors’ operations, cash flows, and

11   business plans and (ii) monitor and evaluate the Debtors’ efforts to reorganize and maximize the

12   value of their estates for creditors. The Committee respectfully submits that the services of a
13   financial advisor are necessary and appropriate to enable it to evaluate the complex financial and
14
     economic issues raised by the Debtors’ Chapter 11 Cases and to fulfill its statutory duties
15
     effectively.
16
             10.     The Committee reviewed materials prepared by and heard pitches made by FTI
17
18   and several other financial advisor candidates prior to selecting FTI as the Committee’s financial

19   advisor. The Committee selected FTI based on, among other factors, (a) the Committee’s

20   determination that (i) FTI was the best candidate to provide the services needed by the Committee
21
     in the Chapter 11 Cases, and (ii) FTI’s proposed fee structure, which the Committee believed to
22
     be competitive and appropriate given its understanding of the facts and circumstances of the
23
     Chapter 11 Cases and (b) FTI’s extensive experience and excellent reputation in providing services
24
     in areas ranging from corporate finance and interim management to economic consulting, forensic
25
26   and litigation consulting, strategic communications, and technology.

27           11.     FTI is a global advisory firm which, through its five practice groups and affiliated
28   entities, and its nearly 4,600 employees in twenty-eight countries, provides a variety of services to

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     third parties including by way of example and not limitation, Forensic and Litigation Consulting,
 1
 2   Technology Services, Corporate Finance & Restructuring, Economic Consulting and Strategic

 3   Communications. FTI’s clients include many of the world’s largest companies, as well as a

 4   majority of the ten largest bank holding companies and nearly all of the top one hundred law firms
 5
     in the world. Within the Corporate Finance & Restructuring business segment, FTI’s expertise
 6
     includes liquidity and capital structure assessment, debt and equity restructuring advice and
 7
     identification of reorganization alternatives.
 8
              12.    FTI has advised management, senior lenders, and unsecured creditors in numerous
 9
10   significant restructurings and turnarounds in recent years, including In re Energy Future Holdings

11   Corp., et al.; In re FirstEnergy Solutions Corp., et al.; In re iHeartMedia, Inc., et al.; In re Cenveo,
12   Inc. et al.; In re Sears Holding Corporation, et al.; In re Westmorland Coal Company, et al.; In re
13
     Pacific Exploration & Production; In re R.E. Gas Development, LLC (Rex Energy), et al.; In re
14
     The Weinstein Company Holdings LLC; In re Claire’s Stores, Inc., et al.; In re Ultra Petroleum
15
     Corporation, et al; In re Peabody Energy Corporation, et al.; In re Premier Oil & Gas, Inc., et al.
16
17   and the restructuring of the Commonwealth of Puerto Rico among others. FTI has a wealth of

18   experience in restructuring and financial advisory services and enjoys an excellent reputation for

19   services rendered in large and complex chapter 11 cases on behalf of debtors and creditors
20   throughout the United States.
21
              13.    In preparing to advise the Committee, not only does FTI have extensive experience
22
     in comparable restructuring matters, but it has become familiar with the Debtors’ businesses,
23
     financial affairs, and capital structure. Since its engagement, FTI has worked closely with the
24
25   Committee and its professionals in assisting with the myriad requirements of these Chapter 11

26   Cases.    Accordingly, the Committee believes that FTI has developed substantial relevant

27   experience regarding the Debtors and the circumstances of these Chapter 11 Cases. For these
28
     reasons, FTI is particularly qualified and uniquely suited to deal effectively and efficiently with

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     matters that may arise in the context of these cases.
 1
 2           D.      FTI’S DISINTERESTEDNESS

 3           14.     FTI has informed the Committee that, to the best of FTI’s knowledge, information,

 4   and belief, other than as set forth in the Star Declaration and the exhibits thereto, FTI: (a) has no
 5
     connection with the Debtors, their creditors, their equity security holders or other parties in interest
 6
     or their respective attorneys or accountants, the U.S. Trustee, or any person employed in the office
 7
     of the U.S. Trustee in any matter related to the Debtors and their estates and (b) does not hold or
 8
     represent any interest adverse to the estate, and therefore believes it is eligible to represent the
 9
10   Committee under Bankruptcy Code section 1103(b).

11           15.     In connection with the preparation of this Application, FTI requested and obtained

12   from the Debtors’ proposed counsel a list of interested parties and significant creditors in these
13
     Chapter 11 Cases (collectively, the “Potential Parties in Interest”). A list of the Potential Parties
14
     in Interest is reflected on Schedule A attached to the Declaration.
15
             16.     FTI then compared the names of each of the Potential Parties in Interest to the
16
17   names contained in a database of current and former clients and other relationships (the “Client

18   Database”). The Client Database generally includes: (i) the name of each client of FTI; (ii) the

19   name of each party who is or was known to be adverse to such client of FTI in connection with the
20   matter in which FTI is or was engaged for such client; (iii) the name of each party that has, or had,
21
     a substantial role with regard to the subject matter of FTI’s retention; and (iv) the names of FTI
22
     professionals who are, or were, primarily responsible for matters for such clients.
23
             17.     An email was issued to all managing directors and senior managing directors of
24
25   FTI, requesting disclosure of information regarding: (i) any known personal or professional

26   connections between the respondent and/or FTI on the one hand, and the Debtors and/or its

27
28

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     affiliates, on the other hand;1 (ii) any known representations by the respondent and/or FTI of any
 1
 2   of the Debtors and/or its affiliates in any matter; and (iii) any other conflict or reason why FTI

 3   may be unable to represent the Committee in the Chapter 11 Cases.

 4            18.       A listing of any relationships between FTI and the Debtors or the Potential Parties
 5
     in Interest is annexed to the Declaration. FTI will supplement the Declaration and its schedules as
 6
     FTI continues to review Potential Parties in Interest and as additional facts bearing on these
 7
     Chapter 11 Cases are known. By way of further disclosure:
 8
                       (a)         From time to time, FTI, which is providing the services in these Chapter
 9
10            11 Cases, has provided services, and likely will continue to provide services to certain

11            attorneys, professionals, creditors (including lenders) and/or security holders of the
12            Debtors and various other parties, some of whom may be providing services to, or may be
13
              adverse to, or may be otherwise connected to, the Debtors, in each case in matters unrelated
14
              to these Chapter 11 Cases.
15
                             (b)   FTI is engaged in providing various consulting services through five
16
17            business segments: Corporate Finance & Restructuring, Economic Consulting, Forensic &

18            Litigation Consulting, Strategic Communications and Technology services globally to a

19            wide range of institutions and individuals and may in the past have had, and may currently
20            or in the future have, financial advisory or other investment banking or consulting
21
              relationships with parties that may have interests with respect to the Debtors or members
22
              of the Committee. Each of the FTI’s five business segments is separate and distinct from
23
              the other, with separate employees and management. Compass Lexecon is a wholly-owned
24
25
     1
              In reviewing its records and the relationships of its professionals, FTI did not seek information as to whether
26   any FTI professional or member of his/her immediate family: (a) indirectly owns, through a public mutual fund or
     through partnerships in which certain FTI professionals have invested but as to which such professionals have no
27   control over or knowledge of investment decisions, securities of the Debtors or any other party in interest; or (b) has
     engaged in any ordinary course consumer transaction with the Debtors or any party in interest. If any such relationship
28   does exist, it does not impact FTI’s disinterestedness or otherwise give rise to a finding that FTI holds or represents
     an interest adverse to the Debtors’ estates.

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                                                       109
         subsidiary of FTI that provides economic consulting services, and operates separately from
 1
 2       FTI, with separate management and employees. In most locations, FTI and Compass

 3       Lexecon work out of separate office locations.

 4                  (c)   In the ordinary course of business, investment funds in which FTI’s
 5
         employees may have financial interests, but over whose investment decisions such
 6
         employees have no input or control, may acquire, hold or sell, long or short positions, or
 7
         trade or otherwise effect transactions, in debt, equity, and other securities and financial
 8
         instruments (including bank loans and other obligations) of, or investments in, the Debtors
 9
10       or other parties that may have an interest in these Chapter 11 Cases or have other

11       relationships with such parties. With respect to any such securities, financial instruments,
12       and/or investments, all rights in respect of such securities, financial instruments, and
13
         investments, including any voting rights, will be exercised by the holder of the rights, in
14
         its sole discretion. Moreover, the FTI Committee Professionals are subject to compliance
15
         mechanisms and policies and procedures designed to prevent confidential, non-public
16
17       information from being improperly shared.

18                  (d)   In the ordinary course of its business, FTI from time to time discusses

19       issues concerning stressed and distressed companies with creditors and prospective
20       creditors that are clients of the firm, or that otherwise contact FTI, or that are referred to
21
         the firm in light of FTI’s reputation for covering such companies and/or relevant industry
22
         expertise. At the time of those contacts, it is not known whether any particular company
23
         will actually file for bankruptcy, or if any of these creditors and/or potential creditors will
24
25       serve on any future creditors’ committee, or even be a creditor of the relevant estate in the

26       event of a future bankruptcy. It is also FTI’s customary practice to communicate with and,

27       when appropriate or requested, send materials to one, or more, of the unsecured creditors
28
         identified by a debtor and who are, therefore, potential members of a creditors’ committee,

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                                             109
              if we either know, work with, are contacted by, or are otherwise referred to the relevant
 1
 2            creditor. In some circumstances, we may contact potential committee members with whom

 3            we are not previously familiar.

 4                       (e)   FTI personnel may have business associations with certain creditors of
 5
              the Debtors or counsel or other professionals involved in these Chapter 11 Cases on
 6
              matters unrelated to these Chapter 11 Cases. In addition, in the ordinary course of its
 7
              business, FTI may engage counsel or other professionals in unrelated matters who now
 8
              represent, or in the future may represent, creditors or other interested parties in these
 9
10            Chapter 11 Cases.

11            18.     Given the large number of parties in interest in these Chapter 11 Cases, despite the
12     efforts described above to identify and disclose FTI’s relationships with parties in interest in these
13
       Chapter 11 Cases, FTI is unable to state with complete certainty that every client relationship or
14
       other connection has been disclosed. In particular, among other things, FTI may have relationships
15
       with persons who are beneficial owners of parties in interest and persons whose beneficial owners
16
17     include parties in interest or persons who otherwise have relationships with parties in interest.

18            19.     As these Chapter 11 Cases progress, new parties may become parties in interest and

19     similarly, FTI may have been engaged, may currently be engaged and may in the future be engaged
20     by such new parties in interest in matters unrelated to these Chapter 11 Cases. Also, FTI may have
21
       engaged or had mutual clients with, may have a current engagement or have mutual clients with
22
       and may in the future engage or have mutual clients with certain law firms, financial advisors,
23
       accounting firms, or other professionals that are Potential Parties in Interest or may become parties
24
25     in interest, all in matters unrelated to these cases. In addition, FTI may have also been engaged

26     by, be currently engaged by, or in the future be engaged by persons who are creditors or

27     shareholders of the Debtors and/or the members of the Committee, otherwise have a business
28
       relationship with the Debtors and/or the Committee, or who are competitors of or customers of the

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       Debtors and/or the Committee. Potential Parties in Interest, persons that may become parties in
 1
 2     interest in these Chapter 11 Cases, and persons that have business relationships with the Debtors

 3     and/or the Committee, that are competitors of the Debtors and/or the Committee, or that are

 4     customers of the Debtors and/or the Committee, may be: (a) parties in interest in other bankruptcy
 5
       cases where FTI is engaged or (b) may be affiliates of or creditors of persons who may have
 6
       engaged, have currently engaged, or may in the future engage FTI. In the ordinary course of its
 7
       business, FTI may also purchase services or products from Potential Parties in Interest and other
 8
       persons that are or may become parties in interest in these Chapter 11 Cases.
 9
10            20.     Moreover, FTI’s employees may have relationships with persons that may become

11     parties in interest in these Chapter 11 Cases, and/or persons that have business relationships with
12     the Debtors, are competitors of the Debtors or that are customers of the Debtors.
13
              21.     Further, some of FTI’s employees may have, or may in the future have, personal
14
       investment in funds, or other investment vehicles, over whose investment decisions such
15
       employees have no input or control. Such entities may have made, or may in the future make,
16
17     investment in the claims or securities of the Debtors, or those of their creditors, or other parties in

18     interest in these Chapter 11 Cases.

19            22.     Based on the foregoing, the Committee believes that FTI is a “disinterested person”
20     as that term is defined in section 101(14) of the Bankruptcy Code. FTI is not believed to be a
21
       “creditor” with respect to fees and expenses of any of the Debtors within the meaning of section
22
       101(10) of the Bankruptcy Code. FTI is not believed to hold or represent any interest adverse to
23
       the estate, and therefore is eligible to represent the Committee under Bankruptcy Code section
24
25     1103(b). FTI has informed the Committee that it will conduct an ongoing review of its files to

26     ensure that no conflicts or other disqualifying circumstances exist or arise. To the extent FTI

27     discovers any new material relevant facts bearing on the matters described herein during the period
28
       of FTI’s employment, FTI will amend and supplement the information contained in the Declaration

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       to disclose any additional facts and will promptly file a Bankruptcy Rule 2014(a) Supplemental
 1
 2     Declaration.

 3            E.       TERMS OF RETENTION

 4            23.     FTI is not owed any prepetition fees or expenses related to the services performed
 5
       on behalf of the Committee. FTI has informed the Committee that to the extent any money is
 6
       owed to FTI by the Debtors on account of prepetition fees or expenses in matters involving the
 7
       Debtors but unrelated to these Chapter 11 Cases, FTI will waive such amounts. Subject to approval
 8
       by the Court, the Committee proposes to employ and retain FTI to serve as the Committee’s
 9
10     financial advisor on the following terms:

11            a)      The customary hourly rates, subject to periodic adjustments, charged by FTI
12            professionals anticipated to be assigned to these cases are as follows:
13
                         i.   Senior Managing Directors                             $725 – $1,260
14
                        ii.   Directors / Senior Directors/ Managing Directors      $510 – $880
15
                       iii.   Consultants / Senior Consultants                      $310 – $640
16
                       iv.    Administrative / Paraprofessionals                    $125 – $275
17
              b)      Reimbursement of actual, necessary costs and expenses incurred in connection with
18
19            the rendering of its services in these Chapter 11 Cases, including fees and expenses of

20            attorneys engaged in connection with retention or fee applications; and

21            c)      Indemnification on the terms described below.
22            24.     FTI intends to apply for compensation for professional services rendered and
23
       reimbursement of expenses incurred in connection with these Chapter 11 Cases, subject to the
24
       Court’s approval and in compliance with applicable provisions of the Bankruptcy Code, the
25
       Bankruptcy Rules, the Local Rules, the U.S. Trustee Guidelines, and any other applicable
26
27     procedures and orders of the Court, including any order approving this Application (to the extent

28     compliance is not waived) and consistent with the proposed compensation set forth above.

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              25.      FTI will maintain records in support of any actual, necessary costs and expenses
 1
 2     incurred in connection with the rendering of its services in these Chapter 11 Cases. In the event

 3     FTI seeks reimbursement for attorneys’ fees during the term of the Chapter 11 Cases, FTI will

 4     include the applicable invoices and supporting time records from such attorneys (in summary form
 5
       and redacted for privilege and work product). Such attorneys do not need to have been retained
 6
       under section 327 of the Bankruptcy Code.
 7
              26.      FTI believes that the fee structure is reasonable and comparable to those generally
 8
       charged by creditors’ committee financial advisors and consultants of similar stature to FTI for
 9
10     comparable engagements, both in and out of chapter 11.

11            F.        INDEMNIFICATION
12            27.      In addition to the preceding, and as a material part of the consideration for the
13
       agreement of FTI to furnish services to the Committee pursuant to the terms of this Application,
14
       the Committee and FTI agree to the provisions indemnifying FTI as set forth below. FTI believes
15
       that the following indemnification terms are customary and reasonable for financial advisors in
16
17     chapter 11 cases:

18                  (a) Subject to the provisions of subparagraphs (b) and (c) below and approval of the
                        Court, the Debtors are authorized to indemnify, and shall indemnify, FTI for any
19                      claims arising from, related to, or in connection with FTI's engagement under this
                        Application, but not for any claim arising from, related to, or in connection with
20                      FTI’s post-petition performance of any other services other than those in connection
21                      with the engagement, unless such post-petition services and indemnification
                        therefore are approved by this Court; and
22
                    (b) The Debtors shall have no obligation to indemnify FTI for any claim or expense
23                      that is either (i) judicially determined (the determination having become final) to
                        have arisen primarily from FTI’s gross negligence, willful misconduct or fraud
24                      unless the Court determines that indemnification would be permissible pursuant to
25                      In re United Artists Theatre company, et al., 315 F.3d 217 (3d Cir. 2003), or (ii)
                        settled prior to a judicial determination as to FTI's gross negligence, willful
26                      misconduct or fraud, but determined by this Court, after notice and a hearing, to be
                        a claim or expense for which FTI is not entitled to receive indemnity under the
27                      terms of this Application; and
28

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                     (c) If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in
 1                       these cases (that order having become a final order no longer subject to appeal),
 2                       and (ii) the entry of an order closing these chapter 11 cases, FTI believes that it is
                         entitled to the payment of any amounts by the Debtors on account of the Debtors’
 3                       indemnification obligations under this Application, including, without limitation,
                         the advancement of defense costs, FTI must file an application in this Court, and
 4                       the Debtors may not pay any such amounts to FTI before the entry of an order by
                         this Court approving the payment. This subparagraph (c) is intended only to specify
 5
                         the period of time under which the Court shall have jurisdiction over any request
 6                       for fees and expenses by FTI for indemnification, and not as a provision limiting
                         the duration of the Debtors’ obligation to indemnify FTI.
 7
                                                 RELIEF REQUESTED
 8
               23.         By this Application, the Committee is seeking to continue to employ FTI pursuant
 9
       to sections 328(a) and 1103 of the Bankruptcy Code and Rule 2014 in accordance with the terms
10
11     set forth herein.

12                                                 BASIS FOR RELIEF
13             24.         By this Application, the Committee respectfully requests the entry of the Proposed
14     Order, substantially in the form attached hereto as Exhibit A authorizing the Committee to employ
15
       and retain FTI as their financial advisor.
16
17             25.         The Committee respectfully requests that the Court approve FTI’s retention nunc
18     pro tunc to the Formation Date. Since that time, FTI has been providing critical services to the
19
       Committee, including (i) reviewing operating and financial information relating to the approval
20
       process for the “first day” motions; (ii) conducting general due diligence on the Debtors’ business
21
       and case matters; (iii) meeting with the Debtors’ advisors and other professionals involved in the
22
23     Chapter 11 Cases; and (iv) participating in telephonic meetings with, and on behalf of, the

24     Creditors Committee.

25
               26.         The Committee submits that the retention of FTI is appropriate under section
26
       328(a) of the Bankruptcy Code. Section 328(a) provides, in relevant part, that a creditor’s
27
28     committee “may employ or authorize the employment of a professional person under section 327


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       or 1103 . . . on any reasonable terms and conditions of employment, including on a retainer, on an
 1
 2     hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a).

 3
              27.      Further, section 1103(a) of the Bankruptcy Code provides, in relevant part, that a
 4
       creditors’ committee, with the Court’s approval, “may select and authorize the employment by such
 5
 6     committee of one or more attorneys, accountants, or other agents, to represent or perform services

 7     for such committee.” 11 U.S.C. § 1103(a). Lastly, Rule 2014 provides, in relevant part, that “[a]n

 8     order approving the employment of . . . professionals pursuant to . . . § 1103 . . . of the Code shall
 9     be made only on application of the trustee or committee.” Fed. R. Bankr. P. 2014(a).
10
11            28.      The employment of FTI and its professionals by the Committee are reasonable and

12     in line with the terms and conditions typical for engagements of this size and character. See, e.g.,
13     In re Aegean Marine Petroleum Network Inc., et al., No. 18-13374 (MEW) (Bankr. S.D.N.Y.
14
       November 6, 2018) [Docket Nos. 250 & 307]; In re The NORDAM Group, Inc., et al., No. 18-
15
       11699 (MFW) (Bankr. D. Del. July 22, 2018) [Docket Nos. 230 & 300]; In re FirstEnergy
16
       Solutions Corp., et al., No. 18-50757 (AMK) (Bankr. N.D. Ohio March 31, 2018) [Docket Nos.
17
18     576 & 729]; In re EXCO Resources, Inc., et al., No. 18-30155 (MI) (Bankr. S.D. Tex. January 15,

19     2018) [Docket Nos. 383 & 528]; In re BCBG Max Azria Global Holdings, LLC, et al., No. 17-

20     10466 (SCC) (Bankr. S.D.N.Y. February 28, 2017) [Docket Nos. 225 & 355]; In re Freedom
21     Communications, Inc., et al., No. 15-15311 (MW) (Bankr. C.D. Cal. November 1, 2015) [Docket
22
       Nos. 183 & 279]; and In re The Great Atl. & Pac. Tea Co., et al., No. 15-23007 (RDD) (Bankr.
23
       S.D.N.Y. Aug. 11, 2015) [Docket Nos. 677 & 1058]. Because the Committee will require
24
       substantial assistance with these Chapter 11 Cases, it is reasonable for the Committee to seek to
25
26     employ and retain FTI to serve as its financial advisor on the terms and conditions set forth herein.

27
28

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              29.      Finally, to the best of the Committee’s knowledge, information, and belief, FTI
 1
 2     does not have any interest materially adverse to the Debtors’ estates or any class of creditors or

 3     equity security holders, by reason of any direct or indirect relationship to, connection with, or

 4     interest in, the Debtors, or for any other reason. Further, the Committee understands that FTI
 5
       believes it is disinterested because, to the best of FTI’s knowledge, information, and belief, FTI
 6
       has no connection with the Debtors, their creditors, or any other party-in-interest, except as
 7
       disclosed in the Star Declaration.
 8
                                                       NOTICE
 9
10            30.      Notice of this Application has been provided to (i) the Office of the United States

11     Trustee for Region 17 (Attn: Andrew Vara, Esq. and Timothy Laffredi, Esq.); (ii) counsel to the
12     Debtors; (iii) counsel to the Tort Claimants Committee; (iv) counsel to the Engineers and Scientists
13
       of California Local 20; (v) the Securities and Exchange Commission; (vi) the Internal Revenue
14
       Commission; (vii) the Office of the California Attorney General; (viii) the California Public
15
       Utilities Commission; (ix) the Nuclear Regulatory Commission; (x) the Federal Energy Regulatory
16
17     Commission; (xi) the Office of the United States Attorney for the Northern District of California;

18     (xii) counsel to the agent under the Debtors’ debtor in possession financing facility; and (xiii) those

19     persons who have formally appeared in these Chapter 11 Cases and requested service pursuant to
20     Bankruptcy Rule 2002. The Committee submits that such notice is sufficient and no other or
21
       further notice need be provided. No previous request for the relief sought herein has been made
22
       to this or any other court.
23
24
25                                   [Remainder of Page Intentionally Left Blank]

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            WHEREFORE, the Committee respectfully request entry of the Proposed Order (a)

     authorizing the Committee to engage Ffl in accordance with this Application and (b) granting
2
     the Committee such other and further relief as this court may deem just and proper.
3
4
     Dated: April 3, 2019                Respectfully Submitted,
5
6                                        THE OFFICIAL COMMITTEE OF UNSECURED
                                         CREDITORS OF PG&E CORPORATION AND
7                                        PACIFIC GAS AND ELECTRIC COMPANY
8



                                       ��J�
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10
                                                 Corporate Finance & Restructuring
11                                               Pension Benefit Guaranty Corporation
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                                         Exhibit A
 1

 2
                                     (Proposed Order)
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       Dennis F. Dunne (admitted pro hac vice)
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 2     MILBANK LLP
       55 Hudson Yards
 3     New York, New York 10001-2163
       Telephone: (212) 530-5000
 4     Facsimile: (212) 530-5219
 5
       and
 6
       Paul S. Aronzon (SBN 88781)
 7     Gregory A. Bray (SBN 115367)
       Thomas R. Kreller (SBN 161922)
 8     MILBANK LLP
       2029 Century Park East, 33rd Floor
 9
       Los Angeles, CA 90067
10     Telephone: (424) 386-4000
       Facsimile: (213) 629-5063
11
       Proposed Counsel for the Official Committee
12     of Unsecured Creditors
13
                                   UNITED STATES BANKRUPTCY COURT
14                                 NORTHERN DISTRICT OF CALIFORNIA
15                                         SAN FRANCISCO DIVISION

16     In re:
                                                             Bankruptcy Case
17     PG&E CORPORATION,                                     No. 19-30088 (DM)
                                                             Chapter 11
18                -and-                                      (Lead Case)
19     PACIFIC GAS AND ELECTRIC                              (Jointly Administered)
20     COMPANY,
                                                             ORDER PURSUANT TO 11 U.S.C.
21                                Debtors.                   §§328(A) AND 1103 AND FED. R.
                                                             BANKR. P. 2014(A) FOR
22                                                           AUTHORIZATION TO RETAIN AND
       □ Affects PG&E Corporation                            EMPLOY FTI CONSULTING, INC.
23
       □ Affects Pacific Gas and Electric Company            AS FINANCIAL ADVISOR NUNC
24                                                           PRO TUNC TO FEBRUARY 12, 2019
       ■ Affects both Debtors
25                                                           Dated: April 24, 2019
       *All papers shall be filed in the lead case,          Time: 9:30AM Pacific Time
26     No. 19-30088(DM)                                      Place: United State Bankruptcy Court,
                                                             Courtroom 17, 16th Floor
27                                                           San Francisco, CA 94102
28

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              Upon consideration of the Application of the Official Committee of Unsecured Creditors for
 1
 2     Entry of an Order Pursuant to 11 U.S.C. §§ 328(a) and 1103 and Fed. R. Bankr. P. 2014(a) for

 3     Authorization to Retain and Employ FTI Consulting, Inc. as Financial Advisors Nunc Pro Tunc to

 4     February 12, 2019 (the “Application”)1 of the Official Committee of Unsecured Creditors (the
 5
       “Committee”) appointed pursuant to section 1102 of title 11 of the United States Code §§ 101 et seq.
 6
       (the “Bankruptcy Code”) in these chapter 11 cases (the “Chapter 11 Cases”) of the above captioned
 7
       debtors and debtors in possession (collectively, the “Debtors”) for entry of an order pursuant to section
 8
       328(a) and 1103 of the Bankruptcy Code and Rule 2014 of the Federal Rules of Bankruptcy Procedure
 9
10     (the “Bankruptcy Rules”) authorizing the retention and employment of FTI Consulting, Inc. (together

11     with its wholly owned subsidiaries, contractors and employees, “FTI”) nunc pro tunc to February 12,
12     2019; and the Court having found that the Court has jurisdiction over this matter pursuant to 28 U.S.C.
13
       §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C. §
14
       157(b)(2); and the Court having found that venue of this proceeding and the Application in this District
15
       is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Application having been given as
16
17     provided in the Application, and such notice having been adequate and appropriate under the

18     circumstances, and it appearing that no other or further notice need be provided; and the Court having

19     reviewed the Application and having heard the statements in support of the relief requested therein at
20     a hearing, if any, before the Court; and the Court having determined that the terms and conditions of
21
       FTI’s employment, including the fee structure and indemnification provisions, set forth in the
22
       Application are reasonable as required by section 328(a) of the Bankruptcy Code; and upon the Court
23
       finding that FTI represents no adverse interests in connection with these cases and that it is a
24
25     disinterested person as that term is defined in section 101(14) of the Bankruptcy Code; and upon further

26     finding that the employment of FTI is necessary and is in the best interests of the Committee; and the

27
28     1
              Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Application.


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       relief requested in the Application being warranted; and after due deliberation and sufficient cause
 1
 2     appearing therefor,

 3            IT IS HEREBY ORDERED THAT:

 4            1.      The Application is GRANTED as set forth herein;
 5
              2.      The Committee is authorized to employ FTI as financial advisors nunc pro tunc to
 6
       February 12, 2019, in accordance with the terms set forth in the Application, without the need for any
 7
       further action on the part of FTI or the Committee to document such retention.
 8
              3.      The Debtors shall be bound by the indemnification, contribution, and reimbursement
 9
10     provisions below and will indemnify and hold harmless FTI, subject, during the pendency of these

11     chapter 11 cases, to the following:
12
                         (a) Subject to the provisions of subparagraphs (b) and (c) below and approval of
13                           the Court, the Debtors are authorized to indemnify, and shall indemnify, FTI
                             for any claims arising from, related to, or in connection with FTI's engagement
14
                             under this Application, but not for any claim arising from, related to, or in
15                           connection with FTI’s post-petition performance of any other services other
                             than those in connection with the engagement, unless such post-petition
16                           services and indemnification therefore are approved by this Court; and

17                       (b) The Debtors shall have no obligation to indemnify FTI for any claim or expense
                             that is either (i) judicially determined (the determination having become final)
18                           to have arisen primarily from FTI’s gross negligence, willful misconduct or
                             fraud unless the Court determines that indemnification would be permissible
19                           pursuant to In re United Artists Theatre company, et al., 315 F.3d 217 (3d Cir.
                             2003), or (ii) settled prior to a judicial determination as to FTI's gross
20
                             negligence, willful misconduct or fraud, but determined by this Court, after
21                           notice and a hearing, to be a claim or expense for which FTI is not entitled to
                             receive indemnity under the terms of this Application; and
22
                         (c) If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in
23                           these cases (that order having become a final order no longer subject to appeal),
                             and (ii) the entry of an order closing these chapter 11 cases, FTI believes that it
24                           is entitled to the payment of any amounts by the Debtors on account of the
                             Debtors’ indemnification obligations under this Application, including, without
25                           limitation, the advancement of defense costs, FTI must file an application in
                             this Court, and the Debtors may not pay any such amounts to FTI before the
26
                             entry of an order by this Court approving the payment. This subparagraph (c)
27                           is intended only to specify the period of time under which the Court shall have
                             jurisdiction over any request for fees and expenses by FTI for indemnification,
28

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                                 and not as a provision limiting the duration of the Debtors’ obligation to
 1                               indemnify FTI.
 2             4.         FTI shall file fee applications for allowance of compensation for services rendered and
 3
       reimbursement of expenses incurred (including, without limitation, the reasonable fees, disbursements
 4
       and other charges of FTI’s counsel, which counsel shall not be required to be retained pursuant to
 5
       sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and any applicable Local Rules
 6
 7     or orders of this Court); provided, that in the event that FTI seeks reimbursement from the Debtors for

 8     attorneys’ fees and expenses consistent with the terms of this Order, the invoices and supporting time
 9     records from such attorneys shall be included in FTI’s own applications, both interim and final, and
10
       they shall be subject to the approval of the Court pursuant to sections 330 and 331 of the Bankruptcy
11
       Code.
12
               5.         All compensation previously paid shall be subject to review by the Court if any objection
13
14     is timely filed.

15             6.         To the extent there is any inconsistency between the terms of this Order, the Application,

16     or the Star Declaration, the terms of this Order shall control.
17             7.         All compensation and reimbursement due to, and other rights of FTI, including, without
18
       limitation, indemnification obligations, shall be treated and allowed (subject to the compensation
19
       review procedures identified in this Order) as administrative expenses in accordance with section 503
20
       of the Bankruptcy Code.
21
22             8.         In the event FTI or its affiliates are required by subpoena or other legal process to

23     produce any of their documents or their respective shareholders, members, managers, employees,

24     agents, representatives, or subcontractors as witnesses with respect to FTI’s services for the Committee,
25
       the Debtors will reimburse FTI for its professional time and expenses, as well as the fees and expenses
26
       of FTI’s counsel, incurred in responding to such requests.
27
28

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               9.       The Committee is authorized and empowered to take all actions necessary to implement
 1
 2     the relief granted in this Order.

 3             10.      Notwithstanding the possible applicability of Bankruptcy Rules 6004, 7062, or 9014, or

 4     otherwise, the terms and conditions of this Order shall be immediately effective and enforceable upon
 5
       its entry.
 6
               11.      This Court shall retain jurisdiction with respect to all matters arising from or related to
 7
       the implementation or interpretation of this Order. During the pendency of these Chapter 11 Cases,
 8
       this Court retains jurisdiction with respect to all matters arising from or related to the implementation
 9
10     of this Order.

11                                               **END OF ORDER**
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                                         Exhibit B
 1
 2
                              (Declaration of Samuel E. Star)
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                                           of 109
       Dennis F. Dunne (admitted pro hac vice)
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       and
 6
       Paul S. Aronzon (SBN 88781)
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       Thomas R. Kreller (SBN 161922)
 8     MILBANK LLP
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       Los Angeles, CA 90067
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       Facsimile: (213) 629-5063
11
       Proposed Counsel for the Official Committee
12     of Unsecured Creditors
13
                                   UNITED STATES BANKRUPTCY COURT
14                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
15
       In re:                                                No. 19-30088 (DM)
16                                                           Chapter 11
       PG&E CORPORATION,                                     (Lead Case)
17                                                           (Jointly Administered)
                  -and-
18     PACIFIC GAS AND ELECTRIC                              DECLARATION OF SAMUEL E. STAR
       COMPANY,                                              IN SUPPORT OF APPLICATION OF THE
19
                                  Debtors.                   OFFICIAL COMMITTEE OF
20                                                           UNSECURED CREDITORS FOR ENTRY
       □ Affects PG&E Corporation                            OF AN ORDER PURSUANT TO 11 U.S.C.
21                                                           §§328(A) AND 1103 AND FED. R. BANKR.
       □ Affects Pacific Gas and Electric Company            P. 2014(A) FOR AUTHORIZATION TO
22     ■ Affects both Debtors                                RETAIN AND EMPLOY FTI
23                                                           CONSULTING, INC. AS FINANCIAL
       *All papers shall be filed in the lead case,          ADVISOR NUNC PRO TUNC TO
24     No. 19-30088(DM)                                      FEBRUARY 12, 2019

25                                                           Dated: April 24, 2019
                                                             Time: 9:30AM Pacific Time
26                                                           Place: United State Bankruptcy Court,
27                                                           Courtroom 17, 16th Floor
                                                             San Francisco, CA 94102
28

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              I, Samuel E. Star, pursuant to 28 U.S.C. § 1746, to the best of my knowledge and belief, and
 1
 2     after reasonable inquiry, declare that the following is true and correct:

 3            I am a Senior Managing Director of FTI Consulting, Inc. (together with its wholly owned

 4     subsidiaries, contractors and employees, “FTI”), an independent global business advisory firm. I am
 5     duly authorized to make this declaration (the “Declaration”) on behalf of FTI and submit this
 6
       Declaration in support of the Application of the Official Committee of Unsecured Creditors for Entry
 7
       of an Order Pursuant to 11 U.S.C. §§ 328(a) and 1103 and Fed. R. Bankr. P. 2014(a) for Authorization
 8
       to Retain and Employ FTI Consulting, Inc. as Financial Advisors Nunc Pro Tunc to February 12, 2019
 9

10     (the “Application”),1 which was filed by the Official Committee of Unsecured Creditors (the

11     “Committee”) in these chapter 11 cases (the “Chapter 11 Cases”) of the above captioned debtors and
12     debtors in possession (collectively, the “Debtors”).             Unless otherwise stated in this declaration, I
13
       generally have personal knowledge of the matters set forth herein, however, certain of the disclosures
14
       set forth herein are related to matters within the knowledge of other employees at FTI and are based on
15
       information provided by them. If called as a witness, I would testify thereto.
16

17            A.       QUALIFICATIONS

18            1.       FTI is a global advisory firm which, through its five practice groups and affiliated

19     entities, and its nearly 4,600 employees in twenty-eight countries, provides a variety of services to third
20     parties including by way of example and not limitation, Forensic and Litigation Consulting,
21
       Technology Services, Corporate Finance/Restructuring, Economic Consulting and Strategic
22
       Communications. FTI’s clients include many of the world’s largest companies, as well as a majority
23
       of the ten largest bank holding companies and nearly all of the top one hundred law firms in the world.
24
25     Within the Corporate Finance/Restructuring business segment, FTI’s expertise includes liquidity and

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27
28
       1
              Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Application.

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       capital structure assessment, debt and equity restructuring advice and identification of reorganization
 1
 2     alternatives.

 3             2.      FTI has advised management, senior lenders, and unsecured creditors in numerous

 4     significant restructurings and turnarounds in recent years, including In re Energy Future Holdings
 5     Corp., et al.; In re FirstEnergy Solutions Corp., et al.; In re iHeartMedia, Inc., et al.; In re Cenveo,
 6
       Inc. et al.; In re Sears Holding Corporation, et al.; In re Westmorland Coal Company, et al.; In re
 7
       Pacific Exploration & Production; In re R.E. Gas Development, LLC (Rex Energy), et al.; In re The
 8
       Weinstein Company Holdings LLC; In re Claire’s Stores, Inc., et al.; In re Ultra Petroleum
 9

10     Corporation, et al; In re Peabody Energy Corporation, et al.; In re Premier Oil & Gas, Inc., et al. and

11     the restructuring of the Commonwealth of Puerto Rico among others. FTI has a wealth of experience

12     in restructuring and financial advisory services and enjoys an excellent reputation for services rendered
13
       in large and complex chapter 11 cases on behalf of debtors and creditors throughout the United States.
14
               3.      In preparing to advise the Committee, not only does FTI have extensive experience in
15
       comparable restructuring matters, but it has become familiar with the Debtors’ businesses, financial
16

17     affairs, and capital structure. Since its engagement, FTI has worked closely with the Committee and

18     its professionals in assisting with the myriad requirements of these Chapter 11 Cases. Accordingly, the

19     Committee believes that FTI has developed substantial relevant experience regarding the Debtors and
20     the circumstances of these Chapter 11 Cases.      For these reasons, I believe that FTI is particularly
21
       qualified and uniquely suited to deal effectively and efficiently with matters that may arise in the
22
       context of these Chapter 11 Cases.
23
                       B.       SCOPE OF SERVICES
24
25                     4.       As set forth in the Application, FTI has been providing and will continue to

26     perform the following services, with the goal of assisting the Committee to maximize value for all

27     constituents. Among other things, FTI has provided, or will provide on a prospective basis upon the
28
       court’s approval of this Application, services in the following categories (the “Services”):

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                      (a) Assistance in the review of financial related disclosures required by the Court,
 1                        including the Schedules of Assets and Liabilities, the Statement of Financial
 2                        Affairs and Monthly Operating Reports;

 3                    (b) Assistance with the assessment and monitoring of the Debtors’ short-term cash
                          flow, liquidity, and operating results;
 4
                      (c) Assistance with the review of the Debtors’ proposed motions or requests for
 5                        relief, including the Debtors’ proposed operational integrity supplier, cash
                          management, customer program, key employee incentive/retention and other
 6                        employee benefit programs motions;
 7
                      (d) Assistance with the review of the Debtors’ long-term financial projections,
 8                        including cash generating capacity and identification of potential cost savings,
                          including overhead and operating expense reductions and efficiency
 9                        improvements;
10                    (e) Assistance with the review of the Debtors’ cost/benefit analysis with respect to
                          the affirmation or rejection of various executory contracts and leases;
11
12                    (f) Assistance with the review of the Debtors’ corporate structure including analysis
                          of intercompany activities and claims;
13
                      (g) Assistance with the review of any tax issues associated with, but not limited to,
14                        claims/stock trading, preservation of net operating losses, refunds due to the
                          Debtors, plans of reorganization, and asset sales;
15
                      (h) Assistance in the review of the claims reconciliation and estimation process,
16                        including potential exposure from wildfire damage claims;
17
                      (i) Assistance in the development of communications strategies with various
18                        stakeholders including regulatory agencies and state government officials and
                          commissions;
19
                      (j) Attendance at meetings and assistance in discussions with the Debtors, potential
20                        investors, banks, other secured lenders, the Committee, and other official or
                          unofficial committees organized in these chapter 11 proceedings, the U.S.
21
                          Trustee, other parties in interest and professionals hired by the same, as
22                        requested;

23                    (k) Assistance in the review and/or preparation of information and analysis
                          necessary for the confirmation of a plan and related disclosure statement in these
24                        chapter 11 proceedings;
25                    (l) Assistance in the evaluation and analysis of avoidance actions, including
                          fraudulent conveyances and preferential transfers;
26
27                    (m) Assistance in the prosecution of Committee responses/objections to the Debtors’
                          motions, including attendance at deposition and provision of expert
28                        reports/testimony on case issues as required by the Committee; and

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                           (n) Render such other general business consulting or such other assistance as the
 1                             Committee or its counsel may deem necessary that are consistent with the role
 2                             of a financial advisor and not duplicative of services provided by other
                               professionals in this proceeding.
 3
                      C.       NO DUPLICATION OF SERVICES
 4
                      5.        In addition, the Committee will retain the services of other professionals over
 5
       the course of these Chapter 11 Cases. Already, the Committee has retained Centerview Partners LLC
 6
 7     (“Centerview”) as investment banker and Milbank LLP (“Milbank”) as counsel. The services

 8     provided by Centerview will focus on financing alternatives, including economics of post-petition and

 9     exit financing, enterprise valuation, asset sales assessments, strategic alternative and post-emergence
10
       capital structure issues. Milbank will provide legal counsel as the attorneys to the Committee.
11
                      6.        The Committee and FTI intend that all of the services that FTI will provide to
12
       the Committee will be appropriately directed by the Committee so as to avoid duplication of efforts
13
       among the other professionals retained in these Chapter 11 Cases and performed in accordance with
14
15     applicable standards of the profession. FTI will work closely with the Committee’s other retained

16     professionals to prevent any duplication of efforts in the course of advising the Committee.
17     Accordingly, I believe that the services to be provided by FTI will complement any services provided
18
       by the Committee’s other professionals.
19
                      D.       TERMS OF RETENTION
20
                      7.        Other than as set forth herein, neither I nor FTI, nor any professional associated
21
       with FTI, has been engaged by any entity other than the Committee in connection with these Chapter
22
23     11 Cases. FTI is not owed any prepetition fees or expenses related to the Committee assignment. It is

24     possible that FTI is owed money on account of prepetition fees or expenses in matters involving the
25     Debtors but unrelated to these Chapter 11 Cases. To the extent any money is owed by the Debtors on
26
       account of prepetition fees or expenses, FTI will waive such amounts so that it is not a creditor of the
27
       Debtors.
28

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                     8.        Subject to approval by the Court, the Committee proposes to employ and retain
 1
 2     FTI to serve as the Committee’s financial advisor on the following terms:

 3                        (a) The customary hourly rates, subject to periodic adjustments, charged by FTI

 4                            professionals anticipated to be assigned to these cases are as follows:
 5
                       Senior Managing Directors                              $725 – $1,260
 6
 7                     Directors / Senior Directors / Managing Directors      $510 – $880

 8                     Consultants/Senior Consultants                         $310 – $640
 9                     Administrative / Paraprofessionals                     $125 – $275
10
                          (b) Reimbursement of actual, necessary costs and expenses incurred in connection
11
                              with the rendering of its services in these Chapter 11 Cases, including fees and
12
                              expenses of attorneys engaged in connection with retention or fee applications;
13
14                            and

15                        (c) Indemnification on the terms described below.

16                   9.        FTI intends to apply for compensation for professional services rendered and
17
       reimbursement of expenses incurred in connection with these Chapter 11 Cases, subject to the Court’s
18
       approval and in compliance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,
19
       the Local Rules, the U.S. Trustee Guidelines, and any other applicable procedures and orders of the
20
       Court, including any order approving the Application (to the extent compliance is not waived).
21
22                   10.       FTI will maintain records in support of any actual, necessary costs and

23     expenses incurred in connection with the rendering of its services in these Chapter 11 Cases. In the
24     event FTI seeks reimbursement for attorneys’ fees during the term of the Chapter 11 Cases, FTI will
25
       include the applicable invoices and supporting time records from such attorneys (in summary form and
26
       redacted for privilege and work product). Such attorneys do not need to have been retained under
27
       section 327 of the Bankruptcy Code.
28

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                     11.       In addition to the foregoing, and as a material part of the consideration for the
 1
 2     agreement of FTI to furnish services to the Committee pursuant to the terms of the Application, FTI

 3     believes that the following indemnification terms are customary and reasonable for creditors’

 4     committee financial advisors in chapter 11 cases:
 5                a. subject to the provisions of subparagraphs (b) and (c) below and approval of the Court,
 6
                     the Debtors are authorized to indemnify, and shall indemnify, FTI for any claims
 7
                     arising from, related to, or in connection with FTI's engagement under this
 8
                     Application, but not for any claim arising from, related to, or in connection with FTI’s
 9

10                   post-petition performance of any other services other than those in connection with the

11                   engagement, unless such post-petition services and indemnification therefore are

12                   approved by this Court; and
13
                  b. the Debtors shall have no obligation to indemnify FTI for any claim or expense that is
14
                     either (i) judicially determined (the determination having become final) to have arisen
15
                     primarily from FTI’s gross negligence, willful misconduct or fraud unless the Court
16

17                   determines that indemnification would be permissible pursuant to In re United Artists

18                   Theatre company, et al., 315 F.3d 217 (3d Cir. 2003), or (ii) settled prior to a judicial

19                   determination as to FTI's gross negligence, willful misconduct or fraud, but
20                   determined by this Court, after notice and a hearing, to be a claim or expense for
21
                     which FTI is not entitled to receive indemnity under the terms of the Application; and
22
                  c. if, before the earlier of (i) the entry of an order confirming a chapter 11 plan in these
23
                     cases (that order having become a final order no longer subject to appeal), and (ii) the
24
25                   entry of an order closing these chapter 11 cases, FTI believes that it is entitled to the

26                   payment of any amounts by the Debtors on account of the Debtors’ indemnification

27                   obligations under the Application, including, without limitation, the advancement of
28
                     defense costs, FTI must file an application in this Court, and the Debtors may not pay

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                      any such amounts to FTI before the entry of an order by this Court approving the
 1
 2                    payment. This subparagraph (c) is intended only to specify the period of time under

 3                    which the Court shall have jurisdiction over any request for fees and expenses by FTI

 4                    for indemnification, and not as a provision limiting the duration of the Debtors’
 5                    obligation to indemnify FTI.
 6
                      12.      I believe that the compensation structure, including the provision of
 7
       indemnification, is reasonable and comparable to those generally charged by financial advisors and
 8
       consultants of similar stature to FTI for comparable engagements, both in and out of chapter 11.
 9

10                    13.      To the best of my knowledge, and unless otherwise set forth herein, (a) no

11     commitments have been made or received by FTI with respect to compensation or payment in

12     connection with these Chapter 11 Cases other than in accordance with the provisions of the Bankruptcy
13
       Code and (b) FTI has no agreement with any other entity to share with such entity any compensation
14
       received by FTI in connection with this engagement in these Chapter 11 Cases.
15
                      E.      Disinterestedness
16
                      14.      In connection with the preparation of this Declaration, FTI requested and
17
18     obtained from the Debtors’ proposed counsel a list of interested parties and significant creditors in these

19     Chapter 11 Cases (collectively, the “Potential Parties in Interest”). A list summarizing the Potential

20     Parties in Interest is reflected on Schedule A attached hereto. The number of Potential Parties in
21
       Interest exceeded 9,000 separate parties.
22
                      15.      FTI then compared the names of each of the Potential Parties in Interest to the
23
       names contained in a database of current and former clients and other relationships (the “Client
24
       Database”). The Client Database generally includes: (i) the name of each client of FTI; (ii) the name
25
26     of each party who is or was known to be adverse to such client of FTI in connection with the matter in

27     which FTI is or was engaged for such client; (iii) the name of each party that has, or had, a substantial
28

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       role with regard to the subject matter of FTI’s retention; and (iv) the names of FTI professionals who
 1
 2     are, or were, primarily responsible for matters for such clients.

 3                       16.        In addition, an email was issued to all managing directors and senior managing

 4     directors of FTI, requesting disclosure of information regarding: (i) any known personal or professional
 5     connections between the respondent and/or FTI on the one hand, and the Debtors and/or its affiliates,
 6
       on the other hand;2 (ii) any known representations by the respondent and/or FTI of any of the Debtors
 7
       and/or its affiliates in any matter; and (iii) any other conflict or reason why FTI may be unable to
 8
       represent the Committee in the Chapter 11 Cases.
 9

10                       17.        A listing of any relationship between FTI and the Debtors and/or their affiliates

11     during the past five (5) years is set forth on Schedule B to this Declaration. A listing of any relationship

12     between FTI and any other Potential Parties in Interest in set forth on Schedule C to this Declaration.
13
       This initial list includes the Debtors, their affiliates and subsidiaries, their current and former directors
14
       and officers, including their affiliations, the Debtors’ professionals, their lenders and administrative
15
       agents, their insurance providers, their DIP lenders, their top unsecured creditors, material contract
16

17     counterparties, their significant shareholders and holders of unsecured notes, the unions, certain

18     litigants, regulatory and government agencies, members of the Committee, members of the Official

19     Tort Claimants Committee and its professionals (and individual member professionals), members of
20     the various ad hoc groups, including their professionals, and employees of the Office of the Governor
21
       of California and its advisors, the office of the United States Trustee for Region 17 and the Bankruptcy
22
       Court.
23
24
25
       2
                In reviewing its records and the relationships of its professionals, FTI did not seek information as to whether any
26     FTI professional or member of his/her immediate family: (a) indirectly owns, through a public mutual fund or through
       partnerships in which certain FTI professionals have invested but as to which such professionals have no control over or
27     knowledge of investment decisions, securities of the Debtors or any other party in interest; or (b) has engaged in any ordinary
       course consumer transaction with the Debtors or any party in interest. If any such relationship does exist, it does not impact
28     FTI’s disinterestedness or otherwise give rise to a finding that FTI holds or represents an interest adverse to the Debtors’
       estates.

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                      18.      To the best of my knowledge, information, and belief, and based on the
 1
 2     foregoing inquiry, other than in connection with this engagement and as otherwise disclosed in this

 3     Declaration or as set forth in Schedule B or Schedule C, FTI has no relationships or connections with

 4     the Debtors or their affiliates of which I am aware. In addition, to the best of my knowledge,
 5
       information, and belief, neither I nor any other professional of FTI who is working on this engagement:
 6
                         (a)   is a creditor, equity security holder, or insider of the Debtors;
 7
                         (b)   is or has been within two years before the Petition Date, a director, officer, or
 8
              employee of the Debtors; or
 9

10                       (c)   has any interest materially adverse to the interests of the Debtors’ estates, by

11            reason of any direct or indirect relationship to, connection with, or interest in, the Debtors, or
12            for any other reason.
13
                      19.      I am not related or connected to and, to the best of my knowledge, information,
14
       and belief, no other professional of FTI who is working on this engagement is related or connected to,
15
       any United States Bankruptcy Judge for the Northern District of California, or any employee in the
16

17     Office of the United States Trustee overseeing these Chapter 11 Cases.

18                    20.      As set forth in further detail herein, FTI is a global business advisory firm. As

19     can be expected with respect to any international professional services firm such as FTI, FTI provides
20     a wide range of services to many clients, which may include one or more entities with interests in these
21
       Chapter 11 Cases. To the best of my knowledge, FTI’s services for such clients do not relate to these
22
       Chapter 11 Cases except as stated below.
23
                      21.      In addition to the relationships disclosed on Schedule B, I note that:
24
25                             (a)    Prior to the Petition Date, Compass Lexecon, LLC (“Compass

26                              Lexecon”), a wholly-owned subsidiary of FTI that provides economic

27                              consulting services, was engaged by the Debtors, through its counsel, to
28
                                provide consulting services to assess and develop a methodology to evaluate

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                           potential damages related to the California wildfires (the “Compass Lexecon
 1
 2                         Engagement”). Based upon information provided to FTI, it is likely that the

 3                         Debtors will seek further advice from Compass Lexecon on these matters.

 4                         Compass Lexecon operates separately from FTI, with separate management
 5                         and employees. In most locations, FTI and Compass Lexecon work out of
 6
                           separate office locations.
 7
                          (b)   Prior to the Petition Date, the Environmental Solutions practice group of
 8
                           the Forensic & Litigation Consulting business segment was retained by
 9

10                         counsel for a group of over fifty defendants including the Debtors to provide

11                         analysis of post-closure obligations relating to a landfill site, including

12                         forensic historical research and development of a database to assist in the
13
                           calculation of cost allocations among the defendants (the “Environmental
14
                           Solutions Engagement”).         The fees for the Environmental Solutions
15
                           Engagement are paid by the independent trust and allocated among each of
16

17                         the defendants. Based upon information provided to FTI, work may continue

18                         on the Environmental Solutions Engagement.

19                22.     In addition to the relationships disclosed on Schedule C, I note that:
20                         (a) Prior to the Petition Date, the insurance practice group of the Forensic &
21
                           Litigation Consulting business segment was retained by a purchaser of
22
                           insurance subrogation claims to assist in connection with certain US
23
                           insurance companies holding subrogation claims primarily related to the
24
25                         identification of and introduction to insurers, which assistance does not

26                         include making any assessment regarding the claims, their value or their

27                         underlying validity (the “Subrogation Engagement”). The subrogation
28

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                                 claims include claims against the Debtors. Based upon information provided
 1
 2                               to FTI, work is likely to continue on the Subrogation Engagement.

 3                               (b) Prior to the Petition Date, Forensic & Litigation Consulting, a business

 4                               segment of FTI, was retained by counsel to provide litigation support to Tiger
 5                               Natural Gas, Inc., in a dispute over billing, collection and payment against
 6
                                 the Debtors. (the “Tiger Engagement”). Based upon information provided
 7
                                 to FTI, work may continue on the Tiger Engagement.
 8
                        23.    In order to maintain the confidentiality of the client information in connection
 9

10     with FTI’s engagement on behalf of the Committee (the “FTI Committee Engagement”), FTI will

11     protect the client information through the use of its Ethical Wall procedures. In conjunction with the

12     foregoing, FTI has established and will maintain the following internal procedures: (i) each FTI
13
       professional on the FTI Committee Engagement (“FTI Committee Professionals”), the Compass
14
       Lexecon Engagement (“FTI Compass Lexecon Professionals”), the Environmental Solutions
15
       Engagement (“FTI Environmental Solutions Professionals”), the Subrogation Engagement (the
16

17     “FTI Subrogation Professionals”) and the Tiger Engagement (the “ FTI Tiger Professionals”) shall

18     acknowledge in writing that he or she may receive certain nonpublic information and that he or she is

19     aware of the information wall in effect and will follow the information wall procedures therein; (ii) FTI
20     Committee Professionals will not directly or indirectly share any nonpublic information generated by,
21
       received from or relating to Committee activities or Committee membership with FTI Lexecon
22
       Professionals, FTI Environmental Solutions Professionals, FTI Subrogation Professionals and FTI
23
       Tiger Professionals, and FTI Compass Lexecon Professionals, FTI Environmental Solutions
24
25     Professionals,    FTI Subrogation Professionals and FTI Tiger Professionals will not directly or

26     indirectly share any nonpublic information generated by, received from or relating to the Compass

27     Lexecon Engagement, the Environmental Solutions Engagement, the Subrogation Engagement or the
28
       Tiger Engagement with FTI Committee Professionals, except that a good-faith communication of

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       publicly available information shall not be presumed to be a breach of the obligations of FTI or any
 1
 2     FTI Committee Professionals or FTI Compass Lexecon Professionals, FTI Environmental Solutions

 3     Professionals, FTI Subrogation Professionals or FTI Tiger Professionals under such information wall

 4     procedures; (iii) FTI is setting up electronic internal security walls to ensure that only FTI employees
 5     involved directly with or working on the FTI Committee Engagement may have access to the
 6
       information, databases, e-mails, schedules or any other information relating to that engagement; (iv)
 7
       FTI shall periodically monitor, consistent with its ordinary course practice, compliance with these
 8
       protocols and ethical wall procedures among FTI Committee Professionals, FTI Compass Lexecon
 9

10     Professionals, FTI Environmental Solutions Professionals, FTI Subrogation Professionals and FTI

11     Tiger Professionals to ensure that such exchanges are performed in a manner consistent with the

12     information wall procedures; and (v) FTI shall immediately disclose to Committee counsel and the
13
       United States Trustee any material breaches of the procedures described herein. If FTI ceases to act
14
       as advisor to the Committee, it will continue to follow the procedures set forth above until a plan has
15
       been confirmed in the Debtors’ Chapter 11 Cases or the Chapter 11 Cases have been converted or
16

17     dismissed.

18                    24.      By way of further disclosure:

19                            (a)    From time to time, FTI, which is providing the services in these Chapter
20            11 Cases, has provided services, and likely will continue to provide services to certain attorneys,
21
              professionals, creditors (including lenders) and/or security holders of the Debtors and various
22
              other parties, some of whom may be providing services to, or may be adverse to, or may be
23
              otherwise connected to, the Debtors, in each case in matters unrelated to these Chapter 11 Cases.
24
25                            (b)    FTI is engaged in providing various consulting services through five

26            business segments: Corporate Finance & Restructuring, Economic Consulting, Forensic &

27            Litigation Consulting, Strategic Communications and Technology services globally to a wide
28
              range of institutions and individuals and may in the past have had, and may currently or in the

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            future have, financial advisory or other investment banking or consulting relationships with
 1
 2          parties that may have interests with respect to the Debtors or members of the Committee. Each

 3          of the FTI’s five business segments is separate and distinct from the other, with separate

 4          employees and management. Compass Lexecon is a wholly-owned subsidiary of FTI that
 5          provides economic consulting services, and operates separately from FTI, with separate
 6
            management and employees. In most locations, FTI and Compass Lexecon work out of separate
 7
            office locations.
 8
                             (c)    In the ordinary course of business, investment funds in which FTI’s
 9

10          employees may have financial interests, but over whose investment decisions such employees

11          have no input or control, may acquire, hold or sell, long or short positions, or trade or otherwise

12          effect transactions, in debt, equity, and other securities and financial instruments (including
13
            bank loans and other obligations) of, or investments in, the Debtors or other parties that may
14
            have an interest in these Chapter 11 Cases or have other relationships with such parties. With
15
            respect to any such securities, financial instruments, and/or investments, all rights in respect of
16

17          such securities, financial instruments, and investments, including any voting rights, will be

18          exercised by the holder of the rights, in its sole discretion. Moreover, the FTI Committee

19          Professionals are subject to compliance mechanisms and policies and procedures designed to
20          prevent confidential, non-public information from being improperly shared.
21
                             (d)    In the ordinary course of its business, FTI from time to time discusses
22
            issues concerning stressed and distressed companies with creditors and prospective creditors
23
            that are clients of the firm, or that otherwise contact FTI, or that are referred to the firm in light
24
25          of FTI’s reputation for covering such companies and/or relevant industry expertise. At the time

26          of those contacts, it is not known whether any particular company will actually file for

27          bankruptcy, or if any of these creditors and/or potential creditors will serve on any future
28
            creditors’ committee, or even be a creditor of the relevant estate in the event of a future

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              bankruptcy. It is also FTI’s customary practice to communicate with and, when appropriate or
 1
 2            requested, send materials to one, or more, of the unsecured creditors identified by a debtor and

 3            who are, therefore, potential members of a creditors’ committee, if we either know, work with,

 4            are contacted by, or are otherwise referred to the relevant creditor. In some circumstances, we
 5            may contact potential committee members with whom we are not previously familiar.
 6
                               (e)    FTI personnel may have business associations with certain creditors of
 7
              the Debtors or counsel or other professionals involved in these Chapter 11 Cases on matters
 8
              unrelated to these Chapter 11 Cases. In addition, in the ordinary course of its business, FTI
 9

10            may engage counsel or other professionals in unrelated matters who now represent, or in the

11            future may represent, creditors or other interested parties in these Chapter 11 Cases.

12                    25.     Given the large number of parties in interest in these Chapter 11 Cases, despite
13
       the efforts described above to identify and disclose FTI’s relationships with parties in interest in these
14
       Chapter 11 Cases, FTI is unable to state with complete certainty that every client relationship or other
15
       connection has been disclosed. In particular, among other things, FTI may have relationships with
16
       persons who are beneficial owners of parties in interest and persons whose beneficial owners include
17
18     parties in interest or persons who otherwise have relationships with parties in interest.

19                    26.     As these Chapter 11 Cases progress, new parties may become parties in interest
20     and similarly, FTI may have been engaged, may currently be engaged and may in the future be engaged
21
       by such new parties in interest in matters unrelated to these Chapter 11 Cases. Also, FTI may have
22
       engaged or had mutual clients with, may have a current engagement or have mutual clients with and
23
       may in the future engage or have mutual clients with certain law firms, financial advisors, accounting
24
25     firms, or other professionals that are Potential Parties in Interest or may become parties in interest, all

26     in matters unrelated to these cases. In addition, FTI may have also been engaged by, be currently

27     engaged by, or in the future be engaged by persons who are creditors or shareholders of the Debtors
28
       and/or the members of the Committee, otherwise have a business relationship with the Debtors and/or

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       the Committee, or who are competitors of or customers of the Debtors and/or the Committee. Potential
 1
 2     Parties in Interest, persons that may become parties in interest in these Chapter 11 Cases, and persons

 3     that have business relationships with the Debtors and/or the Committee, that are competitors of the

 4     Debtors and/or the Committee, or that are customers of the Debtors and/or the Committee, may be: (a)
 5     parties in interest in other bankruptcy cases where FTI is engaged or (b) may be affiliates of or creditors
 6
       of persons who may have engaged, have currently engaged, or may in the future engage FTI. In the
 7
       ordinary course of its business, FTI may also purchase services or products from Potential Parties in
 8
       Interest and other persons that are or may become parties in interest in these Chapter 11 Cases.
 9

10     Moreover, FTI’s employees may have relationships with persons that may become parties in interest

11     in these Chapter 11 Cases, and/or persons that have business relationships with the Debtors, are

12     competitors of the Debtors or that are customers of the Debtors. Continued inquiry will be made on a
13
       periodic basis, with additional disclosures to this Court if necessary or otherwise appropriate.
14
                      27.      To the best of my knowledge, information, and belief, some of FTI’s employees
15
       may have, or may in the future have, personal investment in funds, or other investment vehicles, over
16

17     whose investment decisions such employees have no input or control. Such entities may have made,

18     or may in the future make, investment in the claims or securities of the Debtors, or those of their

19     creditors, or other parties in interest in these Chapter 11 Cases.
20                    28.      Based on all of the foregoing, to the best of my knowledge and except as noted
21
       above, FTI does not hold or represent any interest adverse to the estate, and therefore believes it is
22
       eligible to represent the Committee under Bankruptcy Code section 1103(b). It is FTI’s policy and
23
       intent to update and expand its ongoing relationship search for additional parties in interest in an
24
25     expedient manner. To the extent FTI discovers any new material relevant facts bearing on the matters

26     described herein during the period of FTI’s employment, FTI will amend and supplement the

27     information contained in this Declaration to disclose any additional facts and will promptly file a
28
       Bankruptcy Rule 2014(a) Supplemental Declaration.

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                     F.       COMPLIANCE WITH LAW
 1
 2                   29.      I am generally familiar with the Bankruptcy Code and the Bankruptcy Rules,

 3     and FTI will comply with them, subject to the Orders of this Court.

 4            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
 5     correct.
 6
       Dated: April 2, 2019
 7            New York, NY                         Respectfully submitted,

 8                                                 By: /s/ Samuel E Star
                                                   Samuel E. Star
 9
                                                   Senior Managing Director
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                                        Schedule A


                                    (Interested Parties)

 •   Debtors
 •   Debtors’ Trade Names and Aliases (up to 8 years)
 •   Affiliates and Subsidiaries
 •   Bank Accounts
 •   Bankruptcy Judges & Staff Northern District of California
 •   Current Officers and Directors
 •   Term and Revolving Loan Lenders and Administrative Agents
 •   Contract Counterparties
 •   DIP Lenders
 •   Debtors Professionals
 •   Former Officers and Directors (since 2008)
 •   Affiliations of Former Officers
 •   Affiliations of Former Directors
 •   Insurance/Insurance Provider/Surety Bonds
 •   Surety Bonds
 •   Landlords and parties to leases
 •   Lenders Litigation Counterparties/Litigation Pending Lawsuits
 •   Litigation Parties (in adversary proceeding 19-03003)
 •   Ad Hoc Committee of Unsecured Tort Claimant Creditors
 •   Non-Debtors Professionals
 •   Ordinary Course Professionals
 •   Letters of Credit
 •   Regulatory and Government
 •   Significant Competitors
 •   Significant Shareholders (more than 5% of equity)
 •   Significant holder of voting securities
 •   Taxing Authorities
 •   Top Unsecured Creditors (top 50 list as well as other large holders of unsecured claims)
 •   Unsecured Notes
 •   UCC Lien Holders
 •   Unions
 •   Office of the United States Trustee for Region 17
 •   Utility Providers
 •   Vendors/Suppliers
 •   Interested Parties / Notice of Appearance Parties




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                                       Schedule B


                               (Relationships With Debtors)




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       Party in Interest        Entity with which FTI has a     Nature of connection
                                        connection
 PG&E Corporation               PG&E Corporation            PG&E Corporation is a
                                                            current client of Compass
                                                            Lexecon in matters related to
                                                            the assessment of, and
                                                            methodology for evaluating
                                                            potential damages relating to
                                                            the California wildfires.

                                                              PG&E Corporation is a
                                                              former client of FTI’s
                                                              Strategic Communications
                                                              business segment in matters
                                                              unrelated to these Chapter 11
                                                              Cases, which matters were
                                                              closed in 2016.

                                                              PG&E Corporation is a
                                                              former client of FTI’s
                                                              Forensic & Litigation
                                                              Consulting business segment
                                                              in matters unrelated to these
                                                              Chapter 11 Cases, which
                                                              matters were completed in
                                                              2010, 2011, and 2017.




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 Pacific Gas & Electric         Pacific Gas & Electric       Pacific Gas & Electric
 Company                        Company                      Company is a current client
                                                             of Compass Lexecon in
                                                             matters related to the
                                                             assessment of, and
                                                             methodology for evaluating
                                                             potential damages relating to
                                                             the California wildfires.

                                                             Pacific Gas & Electric
                                                             Company is a current client
                                                             of the Environmental
                                                             Solutions practice group of
                                                             the Forensic & Litigation
                                                             Consulting business segment
                                                             in matters related to forensic
                                                             historical research and
                                                             development of a database to
                                                             assist in the calculation of
                                                             cost allocations related to a
                                                             landfill site.

                                                             Pacific Gas & Electric
                                                             Company is a former client of
                                                             FTI’s Forensic & Litigation
                                                             Consulting business segment
                                                             in matters unrelated to these
                                                             Chapter 11 Cases, which
                                                             matters were completed in
                                                             2011 and 2017.




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                                        Schedule C


                     (Relationships With Potential Parties in Interest)




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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 7-Eleven                        7-Eleven                      7-Eleven is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 8minutenergy Renewables         8minutenergy Renewables       8minutenergy Renewables is
                                                               a former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 ABB Inc.                        ABB Inc.                      ABB Inc. is a former client of
                                                               one or more business units of
                                                               FTI in matters involving one
                                                               or more of the Debtors but
                                                               unrelated to these Chapter 11
                                                               Cases.
 ABM Industries                  ABM Industries                ABM Industries is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Acciona Energy N.A.             Acciona Energy N.A.           Acciona Energy N.A. is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 ACCO Engineered Systems         ACCO Engineered Systems       ACCO Engineered Systems is
                                                               a former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 ACE American Insurance          ACE American Insurance        ACE American Insurance
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Ace Insurance Company           Ace Insurance Company         Ace Insurance Company is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                       Debtors and these Chapter 11
                                                       Cases.
 ADP                        ADP                        ADP is a current client of one
                                                       or more business units of FTI
                                                       in matters unrelated to the
                                                       Debtors and these Chapter 11
                                                       Cases.
 AECOM Technical Services   AECOM Technical Services   AECOM Technical Services
                                                       is a current client of one or
                                                       more business units of FTI in
                                                       matters unrelated to the
                                                       Debtors and these Chapter 11
                                                       Cases.
 Aerojet                    Aerojet                    Aerojet is a current client of
                                                       one or more business units of
                                                       FTI in the Environmental
                                                       Solutions Engagement,
                                                       involving one or more of the
                                                       Debtor.
 Aetna                      Aetna                      Aetna is a current client of
                                                       one or more business units of
                                                       FTI in matters unrelated to
                                                       the Debtors and these Chapter
                                                       11 Cases.
 Aetna International        Aetna International        Aetna International is a
                                                       current client of one or more
                                                       business units of FTI in
                                                       matters unrelated to the
                                                       Debtors and these Chapter 11
                                                       Cases.
 AIG Europe Limited         AIG Europe Limited         AIG Europe Limited is a
                                                       current client of one or more
                                                       business units of FTI in
                                                       matters unrelated to the
                                                       Debtors and these Chapter 11
                                                       Cases.
 AIG Property Casualty      AIG Property Casualty      AIG Property Casualty
 Company                    Company                    Company is a current client
                                                       of one or more business units
                                                       of FTI in matters unrelated to
                                                       the Debtors and these Chapter
                                                       11 Cases.
 Akin Gump Strauss Hadley & Akin Gump Strauss Hadley & Akin Gump Strauss Hadley &
 Feld                       Feld                       Feld is a current client of one


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                         or more business units of FTI
                                                         in matters unrelated to the
                                                         Debtors and these Chapter 11
                                                         Cases.
 AlixPartners                AlixPartners                AlixPartners is a former
                                                         client of one or more business
                                                         units of FTI in matters
                                                         unrelated to the Debtors and
                                                         these Chapter 11 Cases.
 Allegheny Energy Supply Co, Allegheny Energy Supply Co, Allegheny Energy Supply Co,
 LLC                         LLC                         LLC is a former client of one
                                                         or more business units of FTI
                                                         in matters adverse to one or
                                                         more of the Debtors, but
                                                         unrelated to these Chapter 11
                                                         Cases.
 Allianz Global Risks US     Allianz Global Risks US     Allianz Global Risks US
 Insurance Company           Insurance Company           Insurance Company is a
                                                         current client of one or more
                                                         business units of FTI in
                                                         matters unrelated to the
                                                         Debtors and these Chapter 11
                                                         Cases.
 Allied World Assurance      Allied World Assurance      Allied World Assurance
 Company                     Company                     Company is a current client
                                                         of one or more business units
                                                         of FTI in matters unrelated to
                                                         the Debtors and these Chapter
                                                         11 Cases.
 Allstate Insurance Company  Allstate Insurance Company  Allstate Insurance Company
                                                         is a current client of one or
                                                         more business units of FTI in
                                                         matters unrelated to the
                                                         Debtors and these Chapter 11
                                                         Cases.
 American Air Filter Company American Air Filter Company American Air Filter Company
                                                         is a current client of one or
                                                         more business units of FTI in
                                                         matters unrelated to the
                                                         Debtors and these Chapter 11
                                                         Cases.
 American Energy             American Energy             American Energy is a former
                                                         client of one or more business
                                                         units of FTI in matters


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 American Insurance              American Insurance            American Insurance
 Company                         Company                       Company is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 American International          American International        American International
 Group (AIG)                     Group (AIG)                   Group (AIG) is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               involving one or more of the
                                                               Debtors but unrelated to these
                                                               Chapter 11 Cases.
 American International          American International        American International
 Reinsurance Company             Reinsurance Company           Reinsurance Company is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 American Zurich Insurance       American Zurich Insurance     The American Zurich
 Company                         Company                       Insurance Company is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Anadarko                        Anadarko                      Anadarko is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Ankura                          Ankura                        Ankura is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Anthem Blue Cross               Anthem Blue Cross             Anthem Blue Cross is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Debtors and these Chapter 11
                                                               Cases.
 Apache                          Apache                        Apache is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Apollo                          Apollo                        Apollo is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 APTIM                           APTIM                         APTIM is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 ARB Inc.                        ARB Inc.                      ARB Inc. is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Arch Insurance Company          Arch Insurance Company        Arch Insurance Company is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Arch Insurance Company          Arch Insurance Company        Arch Insurance Company
 (Europe)                        (Europe)                      (Europe) is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Arch Reinsurance                Arch Reinsurance              Arch Reinsurance is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Archer Norris                   Archer Norris                 Archer Norris is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 Arent Fox                       Arent Fox                     Arent Fox is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Arnold & Porter Kaye            Arnold & Porter Kaye          Arnold & Porter Kaye
 Scholer                         Scholer                       Scholer is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 ARRIS Group, Inc.               ARRIS Group, Inc.             ARRIS Group, Inc. is a
                                                               current client of one or more
                                                               business units of FTI in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Aspen Insurance Company         Aspen Insurance Company       Aspen Insurance Company is
                                                               a former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Aspen Specialty Insurance       Aspen Specialty Insurance     Aspen Specialty Insurance
 Company                         Company                       Company is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 AT&T                            AT&T                          AT&T is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 AT&T Corporation                AT&T Corporation              AT&T Corporation is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 AT&T Mobility II                AT&T Mobility II              AT&T Mobility II is a former
                                                               client of one or more business
                                                               units of FTI in matters



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 Party in Interest               Entity with which FTI has a     Nature of connection
                                 connection
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 AT&T Network                    AT&T Network                    AT&T Network is a current
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Atlantic Coast                  Atlantic Coast                  Atlantic Coast is a current
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Atlantica Yield                 Atlantica Yield                 Atlantica Yield is a former
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Atlas Copco                     Atlas Copco                     Atlas Copco is a current
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Attestor Capital LLP            Attestor Capital LLP            Prior to the Petition Date, the
                                                                 insurance practice group of
                                                                 FTI’s Forensic & Litigation
                                                                 Consulting business segment,
                                                                 was retained by the purchaser
                                                                 of insurance subrogation
                                                                 claims to assist in connection
                                                                 with certain US insurance
                                                                 companies holding
                                                                 subrogation claims, which
                                                                 claims may be against the
                                                                 Debtors.
 Attorney General for the        Attorney General for the        Attorney General for the State
 State of California (Xavier     State of California (Xavier     of California (Xavier Becerra)
 Becerra)                        Becerra)                        is a current client of one or
                                                                 more business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Avista Energy                   Avista Energy                   Avista Energy is a former
                                                                 client of one or more business
                                                                 units of FTI in matters


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               adverse to the Debtors but
                                                               unrelated to these Chapter 11
                                                               Cases.
 Avista Utilities                Avista Utilities              Avista Utilities is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               adverse to the Debtors but
                                                               unrelated to these Chapter 11
                                                               Cases.
 AXIS Insurance Company          AXIS Insurance Company        AXIS Insurance Company is
                                                               a former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 BakerCorp                       BakerCorp                     BakerCorp is a former client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Baker Hostetler                 Baker Hostetler               Baker Hostetler is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Bank of America                 Bank of America               Bank of America is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Bank of America Merrill         Bank of America Merrill       Bank of America Merrill
 Lynch                           Lynch                         Lynch is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Bank of America, N.A.           Bank of America, N.A.         Bank of America, N.A. is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Bank of Montreal                Bank of Montreal              Bank of Montreal is a current
                                                               client of one or more business


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Bank of New York Mellon         Bank of New York Mellon       Bank of New York Mellon is
                                                               a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Barclays Bank                   Barclays Bank                 Barclays Bank is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Barclays Bank PLC               Barclays Bank PLC             Barclays Bank PLC is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Barclays Capital                Barclays Capital              Barclays Capital is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 John Barrie                     John Barrie                   John Barrie is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Baupost                         Baupost                       Baupost is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Baupost Group SSgA Funds        Baupost Group SSgA Funds      Baupost Group SSgA Funds
 Management                      Management                    Management is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 BC Hydro                        BC Hydro                      BC Hydro is a former client of
                                                               one or more business units of
                                                               FTI in matters adverse to the


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Debtors but unrelated to these
                                                               Chapter 11 Cases.
 Xavier Becerra                  Xavier Becerra                Xavier Becerra is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Robert Bell                     Robert Bell                   Robert Bell is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Berkley Insurance Company       Berkley Insurance Company     Berkley Insurance Company
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Berkley Regional Insurance      Berkley Regional Insurance    Berkley Regional Insurance
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Bigge Crane and Rigging Co.     Bigge Crane and Rigging Co.   Bigge Crane and Rigging Co.
                                                               is a former client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Black & Veatch Corporation      Black & Veatch Corporation    Black & Veatch Corporation
                                                               is a former client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 BlackRock                       BlackRock                     BlackRock is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Blue Cross of California        Blue Cross of California      Blue Cross of California is a
                                                               current client of one or more
                                                               business units of FTI in


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 Party in Interest               Entity with which FTI has a    Nature of connection
                                 connection
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Blue Mountain Capital           Blue Mountain Capital          Blue Mountain Capital
 Management                      Management                     Management is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 BlueMountain Capital            BlueMountain Capital           BlueMountain Capital
 Management                      Management                     Management is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 BNP Paribas                     BNP Paribas                    BNP Paribas is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 BNP Paribas Securities Corp.    BNP Paribas Securities Corp.   BNP Paribas Securities Corp.
                                                                is a current client of one or
                                                                more business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 BNP Paribas US                  BNP Paribas US                 BNP Paribas US is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Bolttech-Mannings               Bolttech-Mannings              Bolttech-Mannings is a
                                                                former client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Boy Scouts of America           Boy Scouts of America          Boy Scouts of America is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 BP Energy Company               BP Energy Company             BP Energy Company is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 BP Products North America       BP Products North America     BP Products North America
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Bridgestone Corporation         Bridgestone Corporation       Bridgestone Corporation is a
                                                               current client of one or more
                                                               business units of FTI in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Michael Brooks                  Michael Brooks                Michael Brooks is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Donald Brown                    Donald Brown                  Donald Brown is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 California Dept. of Water       California Dept. of Water     California Dept. of Water
 Resources                       Resources                     Resources is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 California Franchise Tax        California Franchise Tax      California Franchise Tax
 Board                           Board                         Board is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Calpine                         Calpine                       Calpine is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to



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 Party in Interest               Entity with which FTI has a    Nature of connection
                                 connection
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Calpine Corporation             Calpine Corporation            Calpine Corporation is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Caltrol                         Caltrol                        Caltrol is a current client of
                                                                one or more business units of
                                                                FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Camacho                         Camacho                        Camacho is a current client of
                                                                one or more business units of
                                                                FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Cameron International           Cameron International          Cameron International
 Corporation                     Corporation                    Corporation is a current client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Canadian Imperial Bank of       Canadian Imperial Bank of      Canadian Imperial Bank of
 Commerce                        Commerce                       Commerce is a former client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Canadian Imperial Bank of       Canadian Imperial Bank of      Canadian Imperial Bank of
 Commerce New York Branch        Commerce New York Branch       Commerce New York Branch
                                                                is a current client of one or
                                                                more business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Canon Solutions America         Canon Solutions America        Canon Solutions America is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 Cardinal                        Cardinal                      Cardinal is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Cardno                          Cardno                        Cardno is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Cargill                         Cargill                       Cargill is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Pryor Cashman                   Pryor Cashman                 Pryor Cashman is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Centerbridge Partners           Centerbridge Partners         Centerbridge Partners is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Centerview                      Centerview                    Centerview is a former client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Charter Communications          Charter Communications        Charter Communications is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Lida Chase                      Lida Chase                    Lida Chase is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Chevron Products Company        Chevron Products Company      Chevron Products Company
                                                               is a current client of one or


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Chevron USA, Inc.               Chevron USA, Inc.             Chevron USA, Inc. is a
                                                               current client of FTI's
                                                               Technology Consulting group
                                                               in matters involving one or
                                                               more of the Debtors as a co-
                                                               defendant but unrelated to
                                                               these Chapter 11 Cases.
 Chevron                         Chevron                       Chevron is a current client of
                                                               one or more business units of
                                                               FTI in the Environmental
                                                               Solutions Engagement,
                                                               involving the Debtors.
 Chrysler                        Chrysler                      Chrysler is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Chubb National Insurance        Chubb National Insurance      Chubb National Insurance
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Citi                            Citi                          Citi is a current client of one
                                                               or more business units of FTI
                                                               in matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Citibank, N.A.                  Citibank, N.A.                Citibank, N.A. is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Citigroup                       Citigroup                     Citigroup is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Citigroup Global Markets        Citigroup Global Markets      Citigroup Global Markets is a
                                                               current client of one or more


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 City of Seattle                 City of Seattle               City of Seattle is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Clearway Energy                 Clearway Energy               Clearway Energy is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Clearway Energy Group LLC       Clearway Energy Group LLC     Clearway Energy Group LLC
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 CNA Insurance Company           CNA Insurance Company         CNA Insurance Company is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Coastal Chemical Co.            Coastal Chemical Co.          Coastal Chemical Co. is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Coblentz Patch                  Coblentz Patch                Coblentz Patch is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Cochrane                        Cochrane                      Cochrane is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Comcast                         Comcast                       Comcast is a current client of
                                                               one or more business units of


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Conoco Phillips Company         Conoco Phillips Company       Conoco Phillips Company is
                                                               a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Conocophillips                  Conocophillips                Conocophillips is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Constellation Energy Group      Constellation Energy Group    Constellation Energy Group
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Constellation NewEnergy,        Constellation NewEnergy,      Constellation NewEnergy,
 Inc.                            Inc.                          Inc. is a former client of one
                                                               or more business units of FTI
                                                               in matters adverse to the
                                                               Debtors but unrelated to these
                                                               Chapter 11 Cases.
 Cooley                          Cooley                        Cooley is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Cravath, Swaine & Moore         Cravath, Swaine & Moore       Cravath, Swaine & Moore is
                                                               a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Crown Energy Services, Inc.     Crown Energy Services, Inc.   Crown Energy Services, Inc.
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 CSE Safeguard Insurance         CSE Safeguard Insurance       CSE Safeguard Insurance
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Danning, Gill, Diamond &        Danning, Gill, Diamond &      Danning, Gill, Diamond &
 Kollitz                         Kollitz                       Kollitz is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Davis Polk & Wardwell LLP       Davis Polk & Wardwell LLP     Davis Polk & Wardwell LLP
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 DE Shaw                         DE Shaw                       DE Shaw is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Dell Financial Services         Dell Financial Services       Dell Financial Services is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Deloitte & Touche               Deloitte & Touche             Deloitte & Touche is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Delta Tech Service, Inc.        Delta Tech Service, Inc.      Delta Tech Service, Inc. is a
                                                               current client of one or more
                                                               business units of FTI in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Dentons US LLP                  Dentons US LLP                Dentons US LLP is a current
                                                               client of one or more business
                                                               units of FTI in matters



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 Party in Interest               Entity with which FTI has a    Nature of connection
                                 connection
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Department of Labor             Department of Labor            Department of Labor is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Deutsche Bank National          Deutsche Bank National         Deutsche Bank National
 Trust Company                   Trust Company                  Trust Company is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Deutsche Bank Trust             Deutsche Bank Trust            Deutsche Bank Trust
 Company Americas                Company Americas               Company Americas is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Dinsmore & Shohl                Dinsmore & Shohl               Dinsmore & Shohl is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 DLA Piper (US)                  DLA Piper (US)                 DLA Piper (US) is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Dow Chemical                    Dow Chemical                   Dow Chemical is a current
                                                                client of FTI's Forensic &
                                                                Litigation Consulting Group
                                                                in the Environmental
                                                                Solutions Engagement,
                                                                involving one or more of the
                                                                Debtor.
 DuPont                          DuPont                         DuPont is a current client of
                                                                FTI's Forensic & Litigation
                                                                Consulting Group in the
                                                                Environmental Solutions



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Dynegy Marketing and Trade      Dynegy Marketing and Trade    Dynegy Marketing and Trade
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Dynegy Power                    Dynegy Power                  Dynegy Power is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 E & J Gallo Winery              E & J Gallo Winery            E & J Gallo Winery is a
                                                               current client of one or more
                                                               business units of FTI in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Eaton Corporation               Eaton Corporation             Eaton Corporation is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 EDF Renewable Energy            EDF Renewable Energy          EDF Renewable Energy is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Edison Electric Institute       Edison Electric Institute     Edison Electric Institute is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Edison Electric Institute       Edison Electric Institute     Edison Electric Institute
 (EEI)                           (EEI)                         (EEI) is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.




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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 Edison Electric Institute;      Edison Electric Institute;    Edison Electric Institute;
 Electric Power Research         Electric Power Research       Electric Power Research
 Institute                       Institute                     Institute is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Elliott Management              Elliott Management            Elliott Management is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Elliott Management              Elliott Management            Elliott Management
 Corporation                     Corporation                   Corporation is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Enbridge                        Enbridge                      Enbridge is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Encana Corporation              Encana Corporation            Encana Corporation is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Environmental Protection        Environmental Protection      Environmental Protection
 Agency                          Agency                        Agency is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 EOG Resources                   EOG Resources                 EOG Resources is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Equinix                         Equinix                       Equinix is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Eversheds Sutherland            Eversheds Sutherland          Eversheds Sutherland is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Evoqua Water Technologies       Evoqua Water Technologies     Evoqua Water Technologies
                                                               was a former client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Evoqua Water Technologies       Evoqua Water Technologies     Evoqua Water Technologies
                                                               is a current client of FTI's
                                                               Forensic       &       Litigation
                                                               Consulting Group in the
                                                               Environmental          Solutions
                                                               Engagement, involving one or
                                                               more of the Debtor.
 Exelon Corporation              Exelon Corporation            Exelon Corporation is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Exelon Generation               Exelon Generation             Exelon Generation is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Exelon Generation Company       Exelon Generation Company     Exelon Generation Company
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Extreme Plastics Plus           Extreme Plastics Plus         Extreme Plastics Plus is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Debtors and these Chapter 11
                                                               Cases.
 Exponent                        Exponent                      Exponent is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 ExxonMobil Corp.                ExxonMobil Corp.              ExxonMobil Corp. is a
                                                               current client of one or more
                                                               business units of FTI in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Farella Braun                   Farella Braun                 Farella Braun is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Farmers Insurance Company       Farmers Insurance Company     Farmers Insurance Company
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Federal Insurance Company       Federal Insurance Company     Federal Insurance Company
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases
 Fire Insurance Exchange         Fire Insurance Exchange       Fire Insurance Exchange is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 First Reserve                   First Reserve                 First Reserve is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Jonathan Fishman                Jonathan Fishman              Jonathan Fishman is a current
                                                               client of one or more business
                                                               units of FTI in matters


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Fluor Corporation               Fluor Corporation             Fluor Corporation is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 FMC Corporation                 FMC Corporation               FMC Corporation is a current
                                                               client of one or more business
                                                               units of FTI in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Ford Motor Company              Ford Motor Company            Ford Motor Company is a
                                                               current client of FTI's
                                                               Forensic & Litigation
                                                               Consulting Group in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Frito-Lay                       Frito-Lay                     Frito-Lay is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Frontier Communications         Frontier Communications       Frontier Communications is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Frontier Communications of      Frontier Communications of    Frontier Communications of
 America                         America                       America is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Gallo Glass                     Gallo Glass                   Gallo Glass is a current client
                                                               of one or more business units
                                                               of FTI in the Environmental
                                                               Solutions Engagement,
                                                               involving one or more of the
                                                               Debtor.



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 Party in Interest                Entity with which FTI has a      Nature of connection
                                  connection
 General Electric International   General Electric International   General Electric International
                                                                   is a former client of one or
                                                                   more business units of FTI in
                                                                   matters unrelated to the
                                                                   Debtors and these Chapter 11
                                                                   Cases.
 Geo-Solutions Inc.               Geo-Solutions Inc.               Geo-Solutions Inc. is a
                                                                   current client of one or more
                                                                   business units of FTI in
                                                                   matters unrelated to the
                                                                   Debtors and these Chapter 11
                                                                   Cases.
 Georgia Pacific                  Georgia Pacific                  Georgia Pacific is a current
                                                                   client of FTI's Forensic &
                                                                   Litigation Consulting Group
                                                                   in the Environmental
                                                                   Solutions Engagement,
                                                                   involving one or more of the
                                                                   Debtor.
 GFI Brokers                      GFI Brokers                      GFI Brokers is a current
                                                                   client of one or more business
                                                                   units of FTI in matters
                                                                   unrelated to the Debtors and
                                                                   these Chapter 11 Cases.
 Glidden                          Glidden                          Glidden is a current client of
                                                                   one or more business units of
                                                                   FTI in the Environmental
                                                                   Solutions Engagement,
                                                                   involving one or more of the
                                                                   Debtor.
 Goldman Sachs Bank USA           Goldman Sachs Bank USA           Goldman Sachs Bank USA is
                                                                   a current client of one or
                                                                   more business units of FTI in
                                                                   matters unrelated to the
                                                                   Debtors and these Chapter 11
                                                                   Cases.
 Google                           Google                           Google is a current client of
                                                                   one or more business units of
                                                                   FTI in matters unrelated to
                                                                   the Debtors and these Chapter
                                                                   11 Cases.
 Graphic Packaging                Graphic Packaging                Graphic Packaging
 International                    International                    International is a current
                                                                   client of one or more business


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Great American Insurance        Great American Insurance      Great American Insurance
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Great West Life and Annuity     Great West Life and Annuity   Great West Life and Annuity
 Insurance Company               Insurance Company             Insurance Company is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Greenberg Traurig               Greenberg Traurig             Greenberg Traurig is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Hanson Bridgett                 Hanson Bridgett               Hanson Bridgett is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 HART High-voltage               HART High-voltage             HART High-voltage
 Apparatus Repair & Testing      Apparatus Repair & Testing    Apparatus Repair & Testing
 Co.                             Co.                           Co. is a former client of one
                                                               or more business segments of
                                                               FTI in matters opposing the
                                                               Debtors but unrelated to these
                                                               Chapter 11 Cases.
 Hartford Casualty Insurance     Hartford Casualty Insurance   Hartford Casualty Insurance
 Company                         Company                       Company is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Hawke McKeon & Sniscak          Hawke McKeon & Sniscak        Hawke McKeon & Sniscak
 LLP                             LLP                           LLP is a current client of one
                                                               or more business units of FTI
                                                               in matters unrelated to the


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 Party in Interest               Entity with which FTI has a     Nature of connection
                                 connection
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 HD Supply                       HD Supply                       HD Supply is a current client
                                                                 of one or more business units
                                                                 of FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 Henkels & McCoy, Inc.           Henkels & McCoy, Inc.           Henkels & McCoy, Inc. is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Hewlett Packard Inc.            Hewlett Packard Inc.            Hewlett Packard Inc. is a
                                                                 current client of FTI's
                                                                 Forensic & Litigation
                                                                 Consulting Group in the
                                                                 Environmental Solutions
                                                                 Engagement, involving one
                                                                 or more of the Debtor.
 Holland & Knight                Holland & Knight                Holland & Knight is a current
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Honeywell HPS, Honeywell        Honeywell International Inc.    Honeywell International Inc.
 International Inc.                                              is a current client of one or
                                                                 more business units of FTI in
                                                                 the Environmental Solutions
                                                                 Engagement, involving one
                                                                 or more of the Debtor.
 Hunton Andrews Kurth            Hunton Andrews Kurth            Hunton Andrews Kurth is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Iberdrola Renewables            Iberdrola Renewables            Iberdrola Renewables is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.



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 Party in Interest               Entity with which FTI has a     Nature of connection
                                 connection
 Icap                            Icap                            Icap is a current client of one
                                                                 or more business units of FTI
                                                                 in matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Icap Capital Markets            Icap Capital Markets            Icap Capital Markets
 (Canada)                        (Canada)                        (Canada) is a current client of
                                                                 one or more business units of
                                                                 FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 ICAP Energy                     ICAP Energy                     ICAP Energy is a current
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Illinois Union Insurance        Illinois Union Insurance        Illinois Union Insurance
 Company                         Company                         Company is a current client
                                                                 of one or more business units
                                                                 of FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 Infosys Limited                 Infosys Limited                 Infosys Limited is a current
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Insituform Technologies         Insituform Technologies         Insituform Technologies is a
                                                                 former client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Internal Revenue Service        Internal Revenue Service        Internal Revenue Service is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 International Brotherhood of    International Brotherhood of    International Brotherhood of
 Electrical Workers              Electrical Workers              Electrical Workers is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Debtors and these Chapter 11
                                                               Cases.
 International Business          International Business        International Business
 Machines                        Machines                      Machines is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Invenergy Wind                  Invenergy Wind                Invenergy Wind
 Development                     Development                   Development is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Irell & Manella                 Irell & Manella               Irell & Manella is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Ironshore                       Ironshore                     Ironshore is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 IT International Landfill       IT International Landfill     IT International Landfill
 Trust                           Trust                         Trust is a current client of
                                                               FTI's Forensic & Litigation
                                                               Consulting Group in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 J.P. Morgan Securities          J.P. Morgan Securities        J.P. Morgan Securities is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Jackson Lewis                   Jackson Lewis                 Jackson Lewis is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Jenner & Block                  Jenner & Block                Jenner & Block is a current
                                                               client of one or more business


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Mark Johnson                    Mark Johnson                  Mark Johnson is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Mark Johnson                    Mark Johnson                  Mark Johnson is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Johnson Controls                Johnson Controls              Johnson Controls is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Mary Jones                      Mary Jones                    Mary Jones is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Jones Day                       Jones Day                     Jones Day is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 JP Morgan Securities            JP Morgan Securities          JP Morgan Securities is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 JPMorgan Chase Bank, N.A.       JPMorgan Chase Bank, N.A.     JPMorgan Chase Bank, N.A.
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 J-W Power Company               J-W Power Company             J-W Power Company is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Debtors and these Chapter 11
                                                               Cases.
 Kaiser Foundation Health        Kaiser Foundation Health      Kaiser Foundation Health
 Plan                            Plan                          Plan is a current client of one
                                                               or more business units of FTI
                                                               in matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Peter Knight                    Peter Knight                  Peter Knight is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Kone                            Kone                          Kone is a former client of one
                                                               or more business units of FTI
                                                               in matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Latham & Watkins                Latham & Watkins              Latham & Watkins is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Robert Lee                      Robert Lee                    Robert Lee is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Lehman Brothers                 Lehman Brothers               Lehman Brothers is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Level 3 Communications          Level 3 Communications        Level 3 Communications is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Levin Richmond Terminal         Levin Richmond Terminal       Levin Richmond Terminal is
                                                               a current client of one or
                                                               more business units of FTI in
                                                               the Environmental Solutions


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                             Engagement, involving one
                                                             or more of the Debtor.
 Lexington Insurance           Lexington Insurance           Lexington Insurance
 Company                       Company                       Company is a current client
                                                             of one or more business units
                                                             of FTI in matters unrelated to
                                                             the Debtors and these Chapter
                                                             11 Cases.
 Liberty Mutual Fire Insurance Liberty Mutual Fire Insurance Liberty Mutual Fire Insurance
 Company                       Company                       Company is a former client of
                                                             one or more business units of
                                                             FTI in matters unrelated to
                                                             the Debtors and these Chapter
                                                             11 Cases.
 Liberty Mutual Insurance      Liberty Mutual Insurance      Liberty Mutual Insurance
 Company                       Company                       Company is a current client
                                                             of one or more business units
                                                             of FTI in matters unrelated to
                                                             the Debtors and these Chapter
                                                             11 Cases.
 Liberty Mutual Insurance      Liberty Mutual Insurance      Liberty Mutual Insurance
 Europe Limited                Europe Limited                Europe Limited is a current
                                                             client of one or more business
                                                             units of FTI in matters
                                                             unrelated to the Debtors and
                                                             these Chapter 11 Cases.
 Mark Light                    Mark Light                    Mark Light is a current client
                                                             of one or more business units
                                                             of FTI in matters unrelated to
                                                             the Debtors and these Chapter
                                                             11 Cases.
 Littler Mendelson             Littler Mendelson             Littler Mendelson is a current
                                                             client of one or more business
                                                             units of FTI in matters
                                                             unrelated to the Debtors and
                                                             these Chapter 11 Cases.
 Live Nation                   Live Nation                   Live Nation is a current client
                                                             of one or more business units
                                                             of FTI in matters unrelated to
                                                             the Debtors and these Chapter
                                                             11 Cases.
 Lloyd's of London             Lloyd's of London             Lloyd's of London is a
                                                             current client of one or more
                                                             business units of FTI in


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                           matters unrelated to the
                                                           Debtors and these Chapter 11
                                                           Cases.
 Lloyds of London (various)   Lloyds of London (various)   Lloyds of London (various) is
                                                           a current client of one or
                                                           more business units of FTI in
                                                           matters unrelated to the
                                                           Debtors and these Chapter 11
                                                           Cases.
 Lloyd's of London Syndicates Lloyd's of London Syndicates Lloyd's of London Syndicates
                                                           is a current client of one or
                                                           more business units of FTI in
                                                           matters unrelated to the
                                                           Debtors and these Chapter 11
                                                           Cases.
 Locke Lord                   Locke Lord                   Locke Lord is a current client
                                                           of one or more business units
                                                           of FTI in matters unrelated to
                                                           the Debtors and these Chapter
                                                           11 Cases.
 Lockheed Martin Space        Lockheed Martin Space        Lockheed Martin Space
 Systems Co                   Systems Co                   Systems Co is a current client
                                                           of FTI's Forensic & Litigation
                                                           Consulting Group in the
                                                           Environmental Solutions
                                                           Engagement, involving one
                                                           or more of the Debtor.
 Robert Lowry                 Robert Lowry                 Robert Lowry is a current
                                                           client of one or more business
                                                           units of FTI in matters
                                                           unrelated to the Debtors and
                                                           these Chapter 11 Cases.
 Manatt Phelps                Manatt Phelps                Manatt Phelps is a current
                                                           client of one or more business
                                                           units of FTI in matters
                                                           unrelated to the Debtors and
                                                           these Chapter 11 Cases.
 Michael Martin               Michael Martin               Michael Martin is a current
                                                           client of one or more business
                                                           units of FTI in matters
                                                           unrelated to the Debtors and
                                                           these Chapter 11 Cases.
 Robert Martin                Robert Martin                Robert Martin is a current
                                                           client of one or more business


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 Party in Interest               Entity with which FTI has a     Nature of connection
                                 connection
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Mayer Brown                     Mayer Brown                     Mayer Brown is a current
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 McDermott, Will & Emery         McDermott, Will & Emery         McDermott, Will & Emery is
                                                                 a current client of one or
                                                                 more business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 McKinsey & Company, Inc.        McKinsey & Company, Inc.        McKinsey & Company, Inc.
 U.S.                            U.S.                            U.S. is a current client of one
                                                                 or more business units of FTI
                                                                 in matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Merrill Lynch                   Merrill Lynch                   Merrill Lynch is a current
                                                                 client of one or more business
                                                                 units of FTI in matters
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Merrill Lynch Commodities       Merrill Lynch Commodities       Merrill Lynch Commodities
                                                                 is a current client of one or
                                                                 more business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Merrill Lynch, Pierce, Fenner   Merrill Lynch, Pierce, Fenner   Merrill Lynch, Pierce, Fenner
 & Smith                         & Smith                         & Smith is a current client of
                                                                 one or more business units of
                                                                 FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 MetLife                         MetLife                         MetLife is a current client of
                                                                 one or more business units of
                                                                 FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 Milbak Tweed Hadley &           Milbak Tweed Hadley &           Milbak Tweed Hadley &
 McCloy                          McCloy                          McCloy is a current client of


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Missouri Public Service         Missouri Public Service       Missouri Public Service
 Company dba Aquila, Inc.        Company dba Aquila Inc.       Company dba Aquila Inc. is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters adverse to the
                                                               Debtors, but unrelated to
                                                               these Chapter 11 Cases.
 Mizuho                          Mizuho                        Mizuho is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Mizuho Bank                     Mizuho Bank                   Mizuho Bank is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Mizuho Corporate Bank           Mizuho Corporate Bank         Mizuho Corporate Bank is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Montague                        Montague                      Montague is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Morgan Stanley / ISG            Morgan Stanley / ISG          Morgan Stanley / ISG
 Operations                      Operations                    Operations is a former client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Morgan Stanley Bank             Morgan Stanley Bank           Morgan Stanley Bank is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.


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 Party in Interest               Entity with which FTI has a    Nature of connection
                                 connection
 Morgan Stanley Capital          Morgan Stanley Capital         Morgan Stanley Capital
 Group                           Group                          Group is a current client of
                                                                one or more business units of
                                                                FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Morrison & Foerster             Morrison & Foerster            Morrison & Foerster is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 MS Amlin                        MS Amlin                       MS Amlin is a current client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 MUFG                            MUFG                           MUFG is a former client of
                                                                one or more business units of
                                                                FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 MUFG Union Bank, N.A.           MUFG Union Bank, N.A.          MUFG Union Bank, N.A. is a
                                                                former client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Munger Tolles                   Munger Tolles                  Munger Tolles is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Munger, Tolles & Olson          Munger, Tolles & Olson         Munger, Tolles & Olson is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Munich Re                       Munich Re                      Munich Re is a former client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.


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 Party in Interest               Entity with which FTI has a    Nature of connection
                                 connection
 Munich Re U.S.                  Munich Re U.S.                 Munich Re U.S. is a former
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 National Oilwell Varco          National Oilwell Varco         National Oilwell Varco is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Nationwide                      Nationwide                     Nationwide is a current client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Nautilus Insurance Company      Nautilus Insurance Company     Nautilus Insurance Company
                                                                is a current client of one or
                                                                more business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 New Cingular Wireless PCS       New Cingular Wireless PCS      New Cingular Wireless PCS
                                                                is a current client of one or
                                                                more business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 NextEra                         NextEra                        NextEra is a current client of
                                                                one or more business units of
                                                                FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 NextEra Energy Inc.             NextEra Energy Inc.            NextEra Energy Inc. is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 NextEra Energy Marketing        NextEra Energy Marketing       NextEra Energy Marketing is
                                                                a current client of one or
                                                                more business units of FTI in
                                                                matters unrelated to the



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Debtors and these Chapter 11
                                                               Cases.
 NextEra Energy Partners         NextEra Energy Partners       NextEra Energy Partners is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 NextEra Energy Resources        NextEra Energy Resources      NextEra Energy Resources is
                                                               a former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Nixon Peabody                   Nixon Peabody                 Nixon Peabody is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Norton Rose                     Norton Rose                   Norton Rose is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Nossaman                        Nossaman                      Nossaman is a former client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 NRG Energy                      NRG Energy                    NRG Energy is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Nuclear Regulatory              Nuclear Regulatory            Nuclear Regulatory
 Commission                      Commission                    Commission is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Nuclear Regulatory              Nuclear Regulatory            Nuclear Regulatory
 Commission (NRC)                Commission (NRC)              Commission (NRC) is a
                                                               current client of one or more
                                                               business units of FTI in


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 NV Energy                       NV Energy                     NV Energy is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 O’Melveny & Myers               O’Melveny & Myers             O’Melveny & Myers is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Oil Casualty Insurance          Oil Casualty Insurance        Oil Casualty Insurance
 Limited (OCIL)                  Limited (OCIL)                Limited (OCIL) is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Oracle America                  Oracle America                Oracle America is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Otis Elevator Company           Otis Elevator Company         Otis Elevator Company is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Pabst                           Pabst                         Pabst is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Pacific Bell Telephone          Pacific Bell Telephone        Pacific Bell Telephone
 Company                         Company                       Company is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Pacific Life                    Pacific Life                  Pacific Life is a former client
                                                               of one or more business units


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 Party in Interest               Entity with which FTI has a      Nature of connection
                                 connection
                                                                  of FTI in matters unrelated to
                                                                  the Debtors and these Chapter
                                                                  11 Cases.
 Pacificorp                      Pacificorp                       Pacificorp is a current client
                                                                  of one or more business units
                                                                  of FTI in matters unrelated to
                                                                  the Debtors and these Chapter
                                                                  11 Cases.
 Paul Hastings                   Paul Hastings                    Paul Hastings is a current
                                                                  client of one or more business
                                                                  units of FTI in matters
                                                                  unrelated to the Debtors and
                                                                  these Chapter 11 Cases.
 Paul, Weiss, Rifkind,           Paul, Weiss, Rifkind,            Paul, Weiss, Rifkind,
 Wharton & Garrison              Wharton & Garrison               Wharton & Garrison is a
                                                                  current client of one or more
                                                                  business units of FTI in
                                                                  matters unrelated to the
                                                                  Debtors and these Chapter 11
                                                                  Cases.
 Pension Benefit Guaranty        Pension Benefit Guaranty         Pension Benefit Guaranty
 Corporation                     Corporation                      Corporation is a current client
                                                                  of one or more business units
                                                                  of FTI in matters unrelated to
                                                                  the Debtors and these Chapter
                                                                  11 Cases.
 Perella Weinberg                Perella Weinberg                 Perella Weinberg is a former
                                                                  client of one or more business
                                                                  units of FTI in matters
                                                                  unrelated to the Debtors and
                                                                  these Chapter 11 Cases.
 Calvin Perry                    Calvin Perry                     Calvin Perry is a current
                                                                  client of one or more business
                                                                  units of FTI in matters
                                                                  unrelated to the Debtors and
                                                                  these Chapter 11 Cases.
 Phillips 66                     Phillips 66                      Phillips 66 is a current client
                                                                  of one or more business units
                                                                  of FTI in the Environmental
                                                                  Solutions Engagement,
                                                                  involving one or more of the
                                                                  Debtor.
 Pillsbury                       Pillsbury                        Pillsbury is a current client of
                                                                  one or more business units of


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 PIMCO                           PIMCO                         PIMCO is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Pitney Bowes Global             Pitney Bowes Global           Pitney Bowes Global
 Financial Services LLC          Financial Services LLC        Financial Services LLC is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Powerex                         Powerex                       Powerex is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Powerex Corp.                   Powerex Corp.                 Powerex Corp. is a former
                                                               client of one or more business
                                                               units of FTI in matters adverse
                                                               to the Debtors but unrelated to
                                                               these Chapter 11 Cases.
 Powerex Energy                  Powerex Energy                Powerex Energy is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 PP&L                            PP&L                          PP&L is a former client of
                                                               one or more business units of
                                                               FTI in matters adverse to the
                                                               Debtors but unrelated to these
                                                               Chapter 11 Cases.
 PSC Colorado                    PSC Colorado                  PSC Colorado is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               adverse to the Debtors but
                                                               unrelated to these Chapter 11
                                                               Cases.
 Praxair                         Praxair                       Praxair is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to


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 Party in Interest               Entity with which FTI has a    Nature of connection
                                 connection
                                                                the Debtors and these Chapter
                                                                11 Cases.
 PricewaterhouseCoopers          PricewaterhouseCoopers         PricewaterhouseCoopers is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Prime Clerk                     Prime Clerk                    Prime Clerk is a former client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Pro Safety & Rescue, Inc.       Pro Safety & Rescue, Inc.      Pro Safety & Rescue, Inc. is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Procter & Gamble                Procter & Gamble               Procter & Gamble is a current
                                                                client of FTI's Forensic &
                                                                Litigation Consulting Group
                                                                in the Environmental
                                                                Solutions Engagement,
                                                                involving one or more of the
                                                                Debtor.
 Progressive Direct Insurance    Progressive Direct Insurance   Progressive Direct Insurance
 Company                         Company                        Company is a current client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Prologis                        Prologis                       Prologis is a current client of
                                                                one or more business units of
                                                                FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Proskauer Rose                  Proskauer Rose                 Proskauer Rose is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Prudential                      Prudential                     Prudential is a current client
                                                                of one or more business units


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 Party in Interest               Entity with which FTI has a     Nature of connection
                                 connection
                                                                 of FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 Prudential Financial            Prudential Financial            Prudential Financial is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Puget Sound Energy              Puget Sound Energy              Puget Sound Energy is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 PWC                             PWC                             PWC is a former client of one
                                                                 or more business units of FTI
                                                                 in matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 QBE Insurance Corporation       QBE Insurance Corporation       QBE Insurance Corporation
                                                                 is a current client of one or
                                                                 more business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 QBE Specialty Insurance         QBE Specialty Insurance         QBE Specialty Insurance
 Company                         Company                         Company is a former client of
                                                                 one or more business units of
                                                                 FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 Queen of the Valley Medical     Queen of the Valley Medical     Queen of the Valley Medical
 Center                          Center                          Center is a former client of
                                                                 one or more business units of
                                                                 FTI in matters involving the
                                                                 Debtors as co-defendant but
                                                                 unrelated to these Chapter 11
                                                                 Cases.
 RBC Capital Markets             RBC Capital Markets             RBC Capital Markets is a
                                                                 former client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the



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 Party in Interest               Entity with which FTI has a    Nature of connection
                                 connection
                                                                Debtors and these Chapter 11
                                                                Cases.
 Realty Income Corporation       Realty Income Corporation      Realty Income Corporation is
                                                                a current client of one or
                                                                more business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Recurrent Energy                Recurrent Energy               Recurrent Energy is a former
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Regents of the University of    Regents of the University of   Regents of the University of
 California                      California                     California is a former client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Reliant Energy Services         Reliant Energy Services        Reliant Energy Services is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Republic Services               Republic Services              Republic Services is a current
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 RLI Insurance Company           RLI Insurance Company          RLI Insurance Company is a
                                                                former client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Rosendin Electric               Rosendin Electric              Rosendin Electric is a former
                                                                client of one or more business
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Ropes & Gray                    Ropes & Gray                   Ropes & Gray is a current
                                                                client of one or more business
                                                                units of FTI in matters


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 Party in Interest                Entity with which FTI has a    Nature of connection
                                  connection
                                                                 unrelated to the Debtors and
                                                                 these Chapter 11 Cases.
 Rothschild                       Rothschild                     Rothschild is a current client
                                                                 of one or more business units
                                                                 of FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 Royal Bank of Canada             Royal Bank of Canada           Royal Bank of Canada is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Royal Bank of Canada (RBC)       Royal Bank of Canada (RBC)     Royal Bank of Canada (RBC)
                                                                 is a current client of one or
                                                                 more business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Royal Bank of Scotland           Royal Bank of Scotland         Royal Bank of Scotland is a
                                                                 current client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Royal Bank of Scotland           Royal Bank of Scotland         Royal Bank of Scotland
 (“RBS”)                          (“RBS”)                        (“RBS”) is a current client of
                                                                 one or more business units of
                                                                 FTI in matters unrelated to
                                                                 the Debtors and these Chapter
                                                                 11 Cases.
 Royal Sun Alliance               Royal Sun Alliance             Royal Sun Alliance is a
                                                                 former client of one or more
                                                                 business units of FTI in
                                                                 matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 RPS                              RPS                            RPS is a former client of one
                                                                 or more business units of FTI
                                                                 in matters unrelated to the
                                                                 Debtors and these Chapter 11
                                                                 Cases.
 Russell City Energy              Russell City Energy            Russell City Energy
 Company                          Company                        Company is a former client of


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                           one or more business units of
                                                           FTI in matters unrelated to
                                                           the Debtors and these Chapter
                                                           11 Cases.
 San Diego Gas & Electric Co. San Diego Gas & Electric Co. San Diego Gas & Electric Co.
                                                           is a former client of one or
                                                           more business units of FTI in
                                                           matters involving one or
                                                           more of the Debtors but
                                                           unrelated to these Chapter 11
                                                           Cases.
 San Diego Gas and Electric   San Diego Gas and Electric   San Diego Gas and Electric is
                                                           a former client of one or more
                                                           business units of FTI in
                                                           matters involving one or
                                                           more of the Debtors but
                                                           unrelated to these Chapter 11
                                                           Cases.
 Luis Saavedra                Luis Saavedra                Luis Saavedra is a current
                                                           client of one or more business
                                                           units of FTI in matters
                                                           unrelated to the Debtors and
                                                           these Chapter 11 Cases.
 SBA Communications           SBA Communications           SBA Communications
 Corporation                  Corporation                  Corporation is a current client
                                                           of one or more business units
                                                           of FTI in matters unrelated to
                                                           the Debtors and these Chapter
                                                           11 Cases.
 Schindler Elevator Corp.     Schindler Elevator Corp.     Schindler Elevator Corp. is a
                                                           current client of one or more
                                                           business units of FTI in
                                                           matters unrelated to the
                                                           Debtors and these Chapter 11
                                                           Cases.
 Schneider Electric USA       Schneider Electric USA       Schneider Electric USA is a
                                                           former client of one or more
                                                           business units of FTI in
                                                           matters unrelated to the
                                                           Debtors and these Chapter 11
                                                           Cases.
 Sedgwick                     Sedgwick                     Sedgwick is a former client of
                                                           one or more business units of
                                                           FTI in matters unrelated to


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Sempra Energy                   Sempra Energy                 Sempra Energy is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Service Employees               Service Employees             Service Employees
 International                   International                 International is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Shell                           Shell                         Shell is a current client of
                                                               FTI's Forensic & Litigation
                                                               Consulting Group in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Shell Energy North America      Shell Energy North America    Shell Energy North America
 (US)                            (US)                          (US) is a former client of one
                                                               or more business units of FTI
                                                               in matters adverse to the
                                                               Debtors but unrelated to these
                                                               Chapter 11 Cases.
 Sheppard Mullin                 Sheppard Mullin               Sheppard Mullin is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Sidley Austin                   Sidley Austin                 Sidley Austin is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Siemens Energy                  Siemens Energy                Siemens Energy is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Siemens Industry Inc.           Siemens Industry Inc.         Siemens Industry Inc. is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Debtors and these Chapter 11
                                                               Cases.
 Simpson Thacher & Bartlett      Simpson Thacher & Bartlett    Simpson Thacher & Bartlett
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 James Smith                     James Smith                   James Smith is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Jeffrey Smith                   Jeffrey Smith                 Jeffrey Smith is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Southern California Edison      Southern California Edison    Southern California Edison
 Company                         Company                       Company is a former client of
                                                               one or more business units of
                                                               FTI in matters involving the
                                                               Debtors as co-plaintiff but
                                                               unrelated to these Chapter 11
                                                               Cases.
 Southern California Gas         Southern California Gas       Southern California Gas
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Sprint                          Sprint                        Sprint is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Sprint Spectrum- Nextel         Sprint Spectrum- Nextel       Sprint Spectrum- Nextel is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 SRI International               SRI International             SRI International is a former
                                                               client of one or more business


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 Party in Interest               Entity with which FTI has a    Nature of connection
                                 connection
                                                                units of FTI in matters
                                                                unrelated to the Debtors and
                                                                these Chapter 11 Cases.
 Starwood Energy Group           Starwood Energy Group          Starwood Energy Group
 Global                          Global                         Global is a current client of
                                                                one or more business units of
                                                                FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 State Farm                      State Farm                     State Farm is a current client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 State Farm General Insurance    State Farm General Insurance   State Farm General Insurance
 Company                         Company                        Company is a current client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 State Farm Mutual               State Farm Mutual              State Farm Mutual
 Automobile Insurance            Automobile Insurance           Automobile Insurance
 Company                         Company                        Company is a current client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 State Farm Mutual               State Farm Mutual              State Farm Mutual
 Automobile Insurance            Automobile Insurance           Automobile Insurance
 Company                         Company                        Company is a current client
                                                                of one or more business units
                                                                of FTI in matters unrelated to
                                                                the Debtors and these Chapter
                                                                11 Cases.
 Steptoe & Johnson               Steptoe & Johnson              Steptoe & Johnson is a
                                                                current client of one or more
                                                                business units of FTI in
                                                                matters unrelated to the
                                                                Debtors and these Chapter 11
                                                                Cases.
 Stop & Shop                     Stop & Shop                    Stop & Shop is a former
                                                                client of one or more business
                                                                units of FTI in matters



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Stroock & Stroock & Lavan       Stroock & Stroock & Lavan     Stroock & Stroock & Lavan
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Sumitomo Mitsui Banking         Sumitomo Mitsui Banking       Sumitomo Mitsui Banking
 Corporation                     Corporation                   Corporation is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Suncor Energy                   Suncor Energy                 Suncor Energy is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Sunflower Bank, National        Sunflower Bank, National      Sunflower Bank, National
 Association                     Association                   Association is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 T. Rowe Price Associates        T. Rowe Price Associates      T. Rowe Price Associates is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 TALX Corp.                      TALX Corp.                    TALX Corp. is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Robert Taylor                   Robert Taylor                 Robert Taylor is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 TD Bank, N.A.                   TD Bank, N.A.                 TD Bank, N.A. is a current
                                                               client of one or more business
                                                               units of FTI in matters


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 TD Securities                   TD Securities                 TD Securities is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Teachers Insurance and          Teachers Insurance and        Teachers Insurance and
 Annuity Association of          Annuity Association of        Annuity Association of
 America (TIAA)                  America (TIAA)                America (TIAA) is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Technology Insurance            Technology Insurance          Technology Insurance
 Company                         Company                       Company is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Tesoro Refining & Marketing     Tesoro Refining & Marketing   Tesoro Refining & Marketing
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Tetra Tech                      Tetra Tech                    Tetra Tech is a former client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 The Bank of New York            The Bank of New York          The Bank of New York
 Mellon                          Mellon                        Mellon is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 The Bank of New York            The Bank of New York          The Bank of New York
 Mellon, N.A.                    Mellon, N.A.                  Mellon, N.A. is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 The Bank of New York Trust      The Bank of New York Trust  The Bank of New York Trust
 Company, N.A.                   Company, N.A.               Company, N.A. is a current
                                                             client of one or more business
                                                             units of FTI in matters
                                                             unrelated to the Debtors and
                                                             these Chapter 11 Cases.
 The Bank of Tokyo-            The Bank of Tokyo-            The Bank of Tokyo-
 Mitsubishi UFJ                Mitsubishi UFJ                Mitsubishi UFJ is a current
                                                             client of one or more business
                                                             units of FTI in matters
                                                             unrelated to the Debtors and
                                                             these Chapter 11 Cases.
 T-Mobile                      T-Mobile                      T-Mobile is a current client of
                                                             one or more business units of
                                                             FTI in matters unrelated to
                                                             the Debtors and these Chapter
                                                             11 Cases.
 T-Mobile USA                  T-Mobile USA                  T-Mobile USA is a current
                                                             client of one or more business
                                                             units of FTI in matters
                                                             unrelated to the Debtors and
                                                             these Chapter 11 Cases.
 The Regents of the University The Regents of the University The Regents of the University
 of California                 of California                 of California is a former
                                                             client of one or more business
                                                             units of FTI in matters
                                                             unrelated to the Debtors and
                                                             these Chapter 11 Cases.
 The Travelers Indemnity       The Travelers Indemnity       The Travelers Indemnity
 Company                       Company                       Company is a former client of
                                                             one or more business units of
                                                             FTI in matters unrelated to
                                                             the Debtors and these Chapter
                                                             11 Cases.
 The Travelers Indemnity       The Travelers Indemnity       The Travelers Indemnity
 Company Of America            Company Of America            Company Of America is a
                                                             former client of one or more
                                                             business units of FTI in
                                                             matters unrelated to the
                                                             Debtors and these Chapter 11
                                                             Cases.
 The Vanguard Group            The Vanguard Group            The Vanguard Group is a
                                                             former client of one or more
                                                             business units of FTI in


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                         matters unrelated to the
                                                         Debtors and these Chapter 11
                                                         Cases.
 Tiger Natural Gas, Inc.     Tiger Natural Gas, Inc.     Prior to the Petition Date,
                                                         FTI’s Forensic & Litigation
                                                         Consulting business segment
                                                         was retained by counsel to
                                                         provide litigation support to
                                                         Tiger Natural Gas, Inc. in
                                                         litigation against the Debtors.
 Toronto Dominion Bank       Toronto Dominion Bank       Toronto Dominion Bank is a
                                                         current client of one or more
                                                         business units of FTI in
                                                         matters unrelated to the
                                                         Debtors and these Chapter 11
                                                         Cases.
 Total Gas                   Total Gas                   Total Gas is a current client
                                                         of one or more business units
                                                         of FTI in matters unrelated to
                                                         the Debtors and these Chapter
                                                         11 Cases.
 TransCanada Energy Ltd.     TransCanada Energy Ltd.     TransCanada Energy Ltd. is a
                                                         former client of one or more
                                                         business units of FTI in
                                                         matters adverse to the Debtors
                                                         but unrelated to these Chapter
                                                         11 Cases.
 Travelers Insurance Company Travelers Insurance Company Travelers Insurance Company
 of America                  of America                  of America is a current client
                                                         of one or more business units
                                                         of FTI in matters unrelated to
                                                         the Debtors and these Chapter
                                                         11 Cases.
 Troutman Sanders            Troutman Sanders            Troutman Sanders is a current
                                                         client of one or more business
                                                         units of FTI in matters
                                                         unrelated to the Debtors and
                                                         these Chapter 11 Cases.
 Turner Construction         Turner Construction         Turner Construction
 Company                     Company                     Company is a current client
                                                         of one or more business units
                                                         of FTI in matters unrelated to
                                                         the Debtors and these Chapter
                                                         11 Cases.


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 Twin City Fire Insurance        Twin City Fire Insurance      Twin City Fire Insurance
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 UBS Investment Bank             UBS Investment Bank           UBS Investment Bank is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 UBS Securities                  UBS Securities                UBS Securities is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 UCSF                            UCSF                          UCSF is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Union Bank of California        Union Bank of California      Union Bank of California is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Union Pacific Railroad          Union Pacific Railroad        Union Pacific Railroad
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in the Environmental
                                                               Solutions Engagement,
                                                               involving the Debtors.
 United Airlines (Cogen)         United Airlines (Cogen)       United Airlines (Cogen) is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 United Energy                   United Energy                 United Energy is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               opposed to the Debtors but


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               unrelated to these Chapter 11
                                                               Cases.
 United Energy Trading, LLC      United Energy Trading, LLC    United Energy Trading, LLC
                                                               is a former client of FTI's
                                                               Forensic & Litigation
                                                               Consulting Group in matters
                                                               opposed to the Debtors but
                                                               unrelated to these Chapter 11
                                                               Cases.
 United Rentals                  United Rentals                United Rentals is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 United Services Automobile      United Services Automobile    United Services Automobile
 Association                     Association                   Association is a former client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 United States of America        United States of America      United States of America is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 United Technologies Corp.       United Technologies Corp.     United Technologies Corp. is
                                                               a current client of FTI's
                                                               Forensic & Litigation
                                                               Consulting Group in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Univar USA                      Univar USA                    Univar USA is a former client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 University of Miami             University of Miami           University of Miami is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 US Bank                         US Bank                       US Bank is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 U.S. Bank, N.A.                 U.S. Bank, N.A.               U.S. Bank, N.A.is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 U.S. Bank N.A. Global           U.S. Bank N.A. Global         U.S. Bank N.A. Global
 Corporate Trust Services        Corporate Trust Services      Corporate Trust Services is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 US Bank National                US Bank National              US Bank National
 Association                     Association                   Association is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 U.S. Bank National              U.S. Bank National            U.S. Bank National
 Association                     Association                   Association is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 U.S. Department of the          U.S. Department of the        U.S. Department of the
 Interior                        Interior                      Interior is a current client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 U.S. Department of Justice      U.S. Department of Justice    U.S. Department of Justice is
                                                               a former client of one or more
                                                               business units of FTI in
                                                               matters opposed to the
                                                               Debtors, but unrelated to
                                                               these Chapter 11 Cases.
 U.S. Environmental              U.S. Environmental            U.S. Environmental
 Protection Agency               Protection Agency             Protection Agency is a
                                                               current client of one or more


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 US Nuclear Regulatory           US Nuclear Regulatory         US Nuclear Regulatory
 Commission                      Commission                    Commission is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 US Pipeline                     US Pipeline                   US Pipeline is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 US Securities and Exchange      US Securities and Exchange    US Securities and Exchange
 Commission                      Commission                    Commission is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 US Steel                        US Steel                      US Steel is a current client of
                                                               one or more business units of
                                                               FTI in the Environmental
                                                               Solutions Engagement,
                                                               involving one or more of the
                                                               Debtor.
 USAA Casualty Insurance         USAA Casualty Insurance       USAA Casualty Insurance
 Company                         Company                       Company is a former client of
                                                               one or more business units of
                                                               FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 USS-POSCO                       USS-POSCO                     USS-POSCO is a current
                                                               client of FTI's Forensic &
                                                               Litigation Consulting Group
                                                               in the Environmental
                                                               Solutions Engagement,
                                                               involving one or more of the
                                                               Debtor.
 Valero Refining Company         Valero Refining Company       Valero Refining Company is
                                                               a former client of one or more
                                                               business units of FTI in
                                                               matters adverse to Pacific


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               Gas & Electric Company but
                                                               unrelated to these Chapter 11
                                                               Cases.
 Valero Refining Company-        Valero Refining Company-      Valero Refining Company-
 California                      California                    California is a former client
                                                               of one or more business units
                                                               of FTI in matters adverse to
                                                               Pacific Gas & Electric
                                                               Company but unrelated to
                                                               these Chapter 11 Cases.
 Valspar Corporation             Valspar Corporation           Valspar Corporation is a
                                                               current client of one or more
                                                               business units of FTI in the
                                                               Environmental Solutions
                                                               Engagement, involving one
                                                               or more of the Debtor.
 Van Ness Feldman                Van Ness Feldman              Van Ness Feldman is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Vedder Price                    Vedder Price                  Vedder Price is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Verizon Wireless                Verizon Wireless              Verizon Wireless is a former
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Vista Energy Marketing, LP      Vista Energy Marketing, LP    Vista Energy Marketing, LP is
                                                               a former client of one or more
                                                               business units of FTI in
                                                               matters adverse to the Debtors
                                                               but unrelated to these Chapter
                                                               11 Cases.
 Vitol                           Vitol                         Vitol is a current client of one
                                                               or more business units of FTI
                                                               in matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 Robert Walsh                    Robert Walsh                  Robert Walsh is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Wartsila North America          Wartsila North America        Wartsila North America is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Waste Management                Waste Management              Waste Management is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Weatherford International       Weatherford International     Weatherford International is a
                                                               former client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Weil, Gotshal & Manges          Weil, Gotshal & Manges        Weil, Gotshal & Manges is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Wells Fargo                     Wells Fargo                   Wells Fargo is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Wells Fargo Bank                Wells Fargo Bank              Wells Fargo Bank is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Wells Fargo Bank National       Wells Fargo Bank National     Wells Fargo Bank National
 Association                     Association                   Association is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to



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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Wells Fargo Bank Northwest      Wells Fargo Bank Northwest    Wells Fargo Bank Northwest
                                                               is a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Wells Fargo Bank Northwest,     Wells Fargo Bank Northwest,   Wells Fargo Bank Northwest,
 National Association, as        National Association, as      National Association, as
 Trustee Mac: U1228-051          Trustee Mac: U1228-051        Trustee Mac: U1228-051 is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Wells Fargo Securities          Wells Fargo Securities        Wells Fargo Securities is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Western Asset Management        Western Asset Management      Western Asset Management
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Westinghouse Electric Co.       Westinghouse Electric Co.     Westinghouse Electric Co. is
                                                               a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 White & Case                    White & Case                  White & Case is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Mark Williams                   Mark Williams                 Mark Williams is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 Robert Williams                 Robert Williams               Robert Williams is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Williams Capital                Williams Capital              Williams Capital is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Williams Scotsman               Williams Scotsman             Williams Scotsman a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Willis Towers Watson            Willis Towers Watson          Willis Towers Watson is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Willkie Farr & Gallagher        Willkie Farr & Gallagher      Willkie Farr & Gallagher is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 Wilmer Hale                     Wilmer Hale                   Wilmer Hale is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Winston & Strawn                Winston & Strawn              Winston & Strawn is a
                                                               current client of one or more
                                                               of the business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 XL Insurance America            XL Insurance America          XL Insurance America is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.


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 Party in Interest               Entity with which FTI has a   Nature of connection
                                 connection
 XL Insurance Company            XL Insurance Company          XL Insurance Company is a
                                                               current client of one or more
                                                               business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.
 XL Specialty Insurance          XL Specialty Insurance        XL Specialty Insurance
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Jeffrey Young                   Jeffrey Young                 Jeffrey Young is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Zayo Group                      Zayo Group                    Zayo Group is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Yang Zhang                      Yang Zhang                    Yang Zhang is a current
                                                               client of one or more business
                                                               units of FTI in matters
                                                               unrelated to the Debtors and
                                                               these Chapter 11 Cases.
 Zurich American Insurance       Zurich American Insurance     Zurich American Insurance
 Company                         Company                       Company is a current client
                                                               of one or more business units
                                                               of FTI in matters unrelated to
                                                               the Debtors and these Chapter
                                                               11 Cases.
 Zurich Insurance Company        Zurich Insurance Company      Zurich Insurance Company is
                                                               a current client of one or
                                                               more business units of FTI in
                                                               matters unrelated to the
                                                               Debtors and these Chapter 11
                                                               Cases.




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